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 1   HOLLINGSWORTH LLP
     Joe G. Hollingsworth (pro hac vice)
 2   Eric G. Lasker (pro hac vice)
     Martin C. Calhoun (pro hac vice)
 3   Heather A. Pigman (pro hac vice)
     1350 I Street, N.W.
 4   Washington, DC 20005
     Tel.:   (202) 898-5800
 5   Fax:    (202) 682-1639
     Email: jhollingsworth@hollingsworthllp.com
 6           elasker@hollingsworthllp.com
             mcalhoun@hollingsworthllp.com
 7           hpigman@hollingsworthllp.com
 8   Attorneys for Defendant
     MONSANTO COMPANY
 9

10                                UNITED STATES DISTRICT COURT
11                               NORTHERN DISTRICT OF CALIFORNIA
12   IN RE: ROUNDUP PRODUCTS                      MDL No. 2741
     LIABILITY LITIGATION
13                                                Case No. 3:16-md-02741-VC
14   This document relates to:
                                                  Hearing Date: December 11, 2017
15   ALL ACTIONS                                  Time:         9:00 a.m.
16

17

18             MONSANTO COMPANY’S REPLY MEMORANDUM OF POINTS AND
            AUTHORITIES IN SUPPORT OF ITS DAUBERT AND SUMMARY JUDGMENT
19            MOTION BASED ON FAILURE OF GENERAL CAUSATION PROOF AND
20           OPPOSITION TO PLAINTIFFS’ DAUBERT MOTION TO STRIKE CERTAIN
                 OPINIONS OF MONSANTO COMPANY’S EXPERT WITNESSES
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 1                                         ISSUES TO BE DECIDED

 2   I. Whether plaintiffs have satisfied their burden to present expert testimony that is scientifically

 3        reliable and relevant within the meaning of Daubert and that is sufficient to prove general

 4        causation, i.e., “whether there is sufficient admissible evidence that glyphosate and/or Roundup is

 5        capable of causing cancer (specifically, Non-Hodgkin’s Lymphoma [“NHL”]) in humans.” Pretrial

 6        Order 15 (filed Mar. 3, 2017), ECF No. 186.

 7   II. Whether plaintiffs’ failure to present sufficient admissible expert testimony to prove general

 8        causation entitles Monsanto Company (“Monsanto”) to summary judgment in all Roundup®

 9        lawsuits pending before this Court.

10   III. Whether the challenged opinions of Monsanto’s experts are admissible.

11                                              INTRODUCTION

12            “Under Daubert, the trial court must act as a ‘gatekeeper’ to exclude junk science that does

13   not meet Federal Rule of Evidence 702’s reliability standards by making a preliminary

14   determination that the expert’s testimony is reliable.” Ellis v. Costco Wholesale Corp., 657 F.3d

15   970, 982 (9th Cir. 2011). Daubert challenges are “preliminary” admissibility questions under

16   Federal Rule of Evidence 104(a), see Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 592 &

17   n.10 (1993) (quoting Rule 104(a)), and contrary to plaintiffs’ claims here,1 the proponent of the

18   expert testimony under evaluation does not benefit from any inferences in its favor. Where an
19   expert’s causation opinion is based on unreliable methodologies or the expert’s own ipse dixit, it

20   must be excluded. General Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997).

21            Plaintiffs’ expert proof is all of this – unreliable, ipse dixit and junk science – which is only

22   confirmed by their Opposition. For epidemiology, plaintiffs agree it is at the “heart of the general

23   causation inquiry.” Opp. at 19. Undisputedly, when properly controlled for chance, bias and

24   confounding, the epidemiology literature demonstrates no statistically significant positive findings

25   involving exposure to glyphosate-based herbicides (“GBHs”), such as Roundup®, and NHL,

26
     1
      Plfs’ (1) Resp. in Opp. to Monsanto Co.’s Daubert and Summ. J. Mtn. Based on Failure of
27   General Causation Proof and (2) Daubert Mtn. To Strike Certain Ops. of Monsanto Co.’s Expert
     Witnesses at 1, ECF. No. 647 (hereinafter “Opposition” or “Opp.”).
28                                                1
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 1   meaning the epidemiology shows no association between GBHs and NHL, infra at 7-10; see, e.g.,

 2   In re Bextra & Celebrex Mktg. Sales Pracs. & Prod. Liab. Litig., 524 F. Supp. 2d 1166, 1172

 3   (N.D. Cal. 2007) (epidemiologic study cannot provide evidence of general causation unless,

 4   among other criteria, it “properly accounts for potential confounding factors”). This conclusion is

 5   once again confirmed in the newest (November 2017) publication from the government-sponsored

 6   Agricultural Health Study (“AHS”), which finds “no association was apparent between glyphosate

 7   and any solid tumors or lymphoid malignancies overall, including NHL and its subtypes.”2

 8   Plaintiffs’ experts’ contrary epidemiological opinions, which are based on the use of uncontrolled

 9   and confounded data, do not satisfy either the scientific or legal requirements for admissibility

10   under Daubert, infra at 7, 11-17.

11            Regarding animal toxicology, plaintiffs’ experts concede that no scientifically accepted

12   basis exists that allows them to extrapolate animal data to the human incidence of NHL. See

13   Joiner, 522 U.S. at 144 (approving exclusion of expert testimony based on “seemingly far-

14   removed” animal studies where expert failed to explain why extrapolation to humans was

15   scientifically proper); infra at 25-26. They also offer no basis for the admissibility of their novel,

16   untested, and unsupported interpretations of the animal data. Instead, the record establishes that

17   plaintiffs’ experts apply different statistical methodologies – none of which has been subject to

18   peer-review or other validation and each of which was developed and continues to evolve only for
19   litigation – across different studies, subjectively including or excluding data in their analyses as

20   needed to reach their desired pre-determined conclusions, infra at 26-29. It is not surprising that

21   such made-for-litigation ipse dixit is contrary to 40 years of conclusions by original study authors

22   and scientists at numerous regulatory and scientific agencies, Mtn. at 2, 24-25.

23            Finally, regarding mechanistic data, plaintiffs concede it does not prove carcinogenicity or

24   causation and fail to identify any reliable scientific methodology employed by their experts to

25   support the admissibility or “fit” of this data, infra at 32-36.

26
     2
27    G. Andreotti et al., Glyphosate Use and Cancer Incidence in the Agricultural Health Study, 110 J.
     Nat’l Cancer Inst. (published online Nov. 9, 2017) (“AHS 2017”) (emphasis added).
28                                                2
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 1            Ultimately, the simple truth is that the science on glyphosate and GBHs – which is vast and

 2   overwhelmingly attributable to scientists and entities having nothing to do with Monsanto – points

 3   in a single direction. The epidemiology shows no association between human GBH exposure and

 4   NHL; the animal testing (conducted at doses that are orders of magnitudes above any human

 5   exposure) shows glyphosate is not carcinogenic in animals; the mechanistic data shows glyphosate

 6   is not genotoxic or mutagenic, meaning it does not cause harm to mammalian cells. Plaintiffs’

 7   experts can only opine against the scientific consensus by applying unreliable, untested, and

 8   unsupported methodologies in a results-driven manner using confounded and flawed data and

 9   arguing for a lower standard to be applied than is required in a court of law. This is unreliable

10   methodology; this is ipse dixit; this is junk science. Under Daubert, the Court must exclude such

11   opinions.

12            Plaintiffs contend that rather than scrutinize each step of their experts’ methodologies as

13   required by Daubert, this Court should accept the amorphous weighing of the evidence standard

14   putatively employed by several of their experts.3 See, e.g., Opp. at 2, 22. This Court should

15   decline that invitation, as the “weight of the evidence” method has been repeatedly rejected as the

16   applicable scientific standard in tort cases. For example, in Joiner, the Supreme Court held that a

17   district court’s gatekeeping role under Daubert required a detailed examination of the reliability of

18   the individual studies upon which the plaintiffs’ experts’ opinions were based, and that a group of
19   epidemiology studies that are unreliable individually cannot become admissible simply because

20   more than one appears to reach a similar result. Joiner, 522 U.S. at 146-47 (holding that because

21   “the studies upon which the experts relied were not sufficient, whether individually or in

22   combination, to support their conclusions ... the District Court did not abuse its discretion in

23   excluding their testimony”); Hollander v. Sandoz Pharm. Corp., 289 F.3d 1193, 1216 n.21 (10th

24   Cir. 2002) (rejecting plaintiffs’ argument that “even though each individual category of evidence

25
     3
26    See, e.g., Opp. at 5 (“Dr. Jameson … utilized a weight-of-evidence methodology utilized by NTP
     and IARC … ”); id. (“Dr. Nabhan … concluded that ‘[t]he weight of the scientific evidence
27   supports causality …’”); id. at 56 (“Dr. Portier’s approach … contributes further to a weight of the
     evidence analysis.”).
28                                                3
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 1   may be insufficient, all of the evidence considered as a whole raises factual questions [concerning

 2   causation]” as “inconsistent with Daubert”); Caraker v. Sandoz Pharm. Corp., 188 F. Supp. 2d.

 3   1026, 1040 (S.D. Ill. 2001) (evidence in aggregate “amounts to a hollow whole of hollow parts”

 4   where “the data points pulled from each ‘type’ of evidence are too limited, too disparate and too

 5   inconsistent”); Siharath v. Sandoz Pharm. Corp., 131 F. Supp. 2d 1347, 1371 (N.D. Ga. 2001) (an

 6   expert “cannot lump together lots of hollow evidence in an attempt to determine what caused a

 7   medical harm”), aff’d sub nom., Rider v. Sandoz Pharm. Corp., 295 F.3d 1194, 1196 (11th Cir.

 8   2002).4

 9             In short, to satisfy Daubert, “the expert’s testimony must be reliable at each and every step

10   or else it is inadmissible. The reliability analysis applies to all aspects of an expert’s testimony:

11   the methodology, the facts underlying the expert’s opinion, the link between the facts and the

12   conclusion, et alia.” Knight v. Kirby Inland Marine Inc., 482 F.3d 347, 355 (5th Cir. 2007)

13   (internal citation omitted) (emphasis added); see id. (“Even if [some of the studies relied upon by

14   plaintiff’s expert] provided a plausible basis for general causation,” the district court, after

15   considering the “‘reliability’ and ‘relevance’” of such evidence, “could still reach the conclusion

16   that [expert’s testimony] was inadmissible.”).5 Here, plaintiffs’ expert proof is unreliable at each

17
     4
       United States v. W.R. Grace is not inconsistent. Opp. at 46. There, the district court granted
18   defendant’s motion in limine to exclude a specific study under Rule 702 without any consideration
     under Daubert of plaintiff’s experts’ methodology, the “reliability of the methods, as well as the fit
19   of the methods to the facts of the case.” U.S. v. W.R. Grace, 504 F.3d 745, 765 (9th Cir. 2007); see
     U.S. v. Grace, 597 F. Supp. 2d 1143, 1144 (D. Mont. 2009) (on remand). Finding that the court
20   “failed to consider the Rule 702 requirements with regard to causation” and misapplied Rule 403,
     the Ninth Circuit reversed. Grace, 504 F.3d at 765-66. Far from supporting application of the
21   “weight of the evidence” standard, the case underscores the importance of reviewing each piece of
     scientific evidence under Daubert.
22   5
       Plaintiffs’ reliance on Milward v. Acuity Specialty Prod. Grp., Inc., 639 F.3d 11, 23 (1st Cir.
     2011) is misplaced. Importantly, Milward differs from this case in that it addressed a relatively
23   sparse body of scientific evidence related to a rare disease. Here, NHL is among the most common
     cancers and has been the subject of decades of research, and there is a robust data set regarding
24   glyphosate and GBHs. See Monsanto Co.’s Notice of Mot. & Daubert & Summ. J. Mot. Based on
     Failure of Gen. Causation Proof at 4-6, ECF No. 545 (hereinafter “Motion” or “Mtn.”). Therefore,
25   even assuming that the First Circuit accepts the elsewhere-rejected proposition that a kind of
     “weight of the evidence” approach can pass muster under Daubert in the factual scenario under
26   which the case arose, it is not applicable here. Further, as explained thoroughly herein, plaintiffs’
     experts’ methodologies here fail to satisfy Milward’s criteria. See id. at 17-18 (describing “six
27   general steps”). Finally, where the “weight of the evidence” methodology is faithfully employed,
     as is the case with regulatory agencies making public health-driven risk assessments of
28                                                4
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 1   step of the way, requiting its exclusion. Conversely, their motions to exclude several of

 2   Monsanto’s experts’ opinions must be denied as lacking any basis in fact, law, or science. Infra at

 3   40-50.

 4   I.        PLAINTIFFS MISREPRESENT THE GENERAL CAUSATION INQUIRY.

 5             In their Opposition, plaintiffs for the first time attempt to redefine the parameters of the

 6   general causation inquiry, claiming that Monsanto has improperly “inject[ed] issues related to dose

 7   and absorption” into the general causation phase of this case. Opp. at 42-45. They do so despite

 8   previously agreeing that the general causation inquiry must be assessed at human-relevant doses:

 9             THE COURT: So you get the difference between the two questions? One is simply, can
               Roundup cause non-Hodgkin’s lymphoma, and the other question is, can Roundup cause
10             non-Hodgkin’s lymphoma in a particular dose, that dose being, you know, the highest
               exposure to which a plaintiff was subject. So like I said, I don’t want to hear argument on
11             that right now. I just want to get people’s positions on that. What is the plaintiffs’ position
               on what is the question to be answered in phase I?
12                             …
13             MR. MILLER: If I could, your Honor, then – Mike Miller – we believe the questions
               ultimately are the same, because what epidemiology does is look at exposures in real-world
14             dosing. It doesn’t look as a laboratory test would. So I know your Honor doesn’t want
               argument, but our position is the questions merge into one question in the face of
15             epidemiology, because that is looking at real-world exposures, when you compare people
               exposed in the real world to people not exposed.
16

17   Tr. of Official Proceedings 5:1-21 (Feb. 24, 2017), ECF No. 546-7. Monsanto’s position is the

18   same.6 Numerous courts, including in bifurcated proceedings such as this one, agree as well. See,
19   e.g., In re Bextra, 524 F. Supp. 2d at 1174; Mtn. at 9 (providing additional citations).

20             The inclusion of human-relevant exposures in the general causation inquiry is crucial. As

21   described in more detail in Monsanto’s Motion and infra at 25-26, 29, 33, neither animal testing

22   nor much of the mechanistic data at issue here relates to real-world human exposures. Only human

23   epidemiology makes that assessment, and plaintiffs concede in their Opposition that

24

25   carcinogenicity, it uniformly leads to the opposite conclusion of that urged by plaintiffs. Mtn. at 2.
     Thus, plaintiffs cannot establish their experts’ opinions admissibility even under the inappropriate
26   “weight of the evidence” method.
     6
       See Tr. of Official Proceedings 14:9-12 (Feb. 27, 2017) (Ex. 1) (“yes, dose does matter to general
27   causation, because the question in general causation is can a substance cause a disease at a real
     world dose or a dose that we are concerned about.”).
28                                                 5
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 1   “epidemiology [is] at the heart of the general causation question.” Opp. at 19. Therefore, any

 2   scientific methodology addressing even generally whether GBH exposure causes NHL in humans

 3   must consider exposure levels.

 4            Plaintiffs incorrectly rely on In re Hanford Nuclear Reservation Litig., 292 F.3d 1124,

 5   1139 (9th Cir. 2002), to support their new contention. Opp. at 42. In fact, before the passage cited

 6   by plaintiffs, the Ninth Circuit found that “the appropriate understanding of [general] causation is

 7   … whether exposure to a substance for which a defendant is responsible, such as radiation at the

 8   level of exposure alleged by plaintiffs, is capable of causing a particular injury or condition in the

 9   general population.” In re Hanford, 292 F.3d at 1133. Plaintiffs’ citation refers only to the

10   analysis and dismissal of individual plaintiffs’ claims, which the Ninth Circuit found would be

11   more appropriately considered during the specific causation phase, if necessary. Id. at 1139.

12            Plaintiffs’ attempt to distinguish the In re Bextra decision cited by Monsanto as involving a

13   pharmaceutical product where exposure levels are known versus a chemical exposure where they

14   are not is similarly without merit. Opp. at 42. In fact, a variety of long-accepted studies establish

15   the maximum exposure levels of agricultural workers, the group that most frequently uses GBHs.

16   For example, the Farm Family Exposure Study (“FFES”) (an epidemiological study of agricultural

17   pesticide applicators) found that the highest estimated systemic dose of glyphosate is .004

18   mg/kg/day.7 Mtn. at 5. And agricultural workers are the focus of many epidemiology studies,
19   including those relied upon by plaintiffs, examining whether an association between GBHs and

20   NHL exists in humans. Opp. at 24-28. This Court should reject plaintiffs’ efforts to deviate from

21   the well-settled requirement that human-relevant exposure levels must be considered as part of the

22   general causation inquiry.8

23
     7
       Plaintiffs criticize the FFES as “doctored” based on an alleged “admission” from a decades-old
24   corporate memo. Opp. at 44. But, as Dr. Acquavella – the author of the study – explained at his
     deposition, the invalid urine sample discussed in that memo was excluded from the published study
25   and therefore had no influence on the results. See Dep. of John Acquavella 465:1-466:17 (Apr. 8,
     2017) (“Acquavella Dep.”) (Ex. 2). No expert offered contradictory testimony.
26   8
       Plaintiffs also now claim that they are alleging exposure pathways beyond dermal exposure.
     Opp. at 44-45. However, plaintiffs have presented no evidence on exposure pathways for GBHs
27   beyond a brief discussion of dermal absorption in the expert report of Dr. Nabhan. Expert Report
     of Chadi Nabhan at 8, ECF No. 546-10 (“Nabhan Report”). Moreover, in addition to plaintiffs’
28                                                6
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     II.     PLAINTIFFS’ EXPERTS’ OPINIONS ARE UNRELIABLE BECAUSE THEY
 1           DISREGARD THE EPIDEMIOLOGIC EVIDENCE IN FAVOR OF
 2           CONFOUNDED, BIASED, AND STATISTICALLY INSIGNIFICANT DATA.

 3           Plaintiffs acknowledge that epidemiology is “at the heart of the general causation question”

 4   and provides “the best proof of the general association of a particular substance with particular

 5   effects.” Opp. at 19-20. Plaintiffs thus concede that epidemiologic evidence is the critical

 6   evidentiary basis that would be necessary to support a reliable expert opinion on general causation.

 7   Id. at 19. Their experts’ testimony confirms that they cannot meet their burden of proof on this

 8   issue. Plaintiffs’ experts (and IARC, on which they rely) concede that the epidemiologic evidence

 9   is, at best, “limited” because “chance, bias, and confounding could not be excluded as

10   explanations” for any purported association between GBHs and NHL.9 Given those concessions,

11

12   statements at the February 24, 2017 CMC, Mtn. at 5, plaintiffs’ counsel has also disclaimed that
     any plaintiffs developed NHL from exposure to glyphosate from food, see Dep. of David Saltmiras
13   33:7-11 (Jan. 31, 2017) (“Saltmiras Dep.”) (“Q: Okay. And you understand that none of my clients
     nor any filed case in this litigation is suing Monsanto claiming they got non-Hodgkin’s lymphoma
14   from eating food?”) (Ex. 3), and plaintiffs’ experts have explicitly adopted IARC’s methodology
     and conclusions in reaching their expert opinions in this case, see, e.g., Mtn. at 3-4; see also Opp.
15   at 9 (IARC conclusions are “based on sound, reliable evidence”), without disputing or somehow
     exempting IARC’s otherwise unrebutted conclusion that “[i]nhalation of glyphosate is considered
16   to be a minor route of exposure in humans.” IARC, Monograph Vol. 112 on the Evaluation of
     Carcinogenic Risks to Humans, Some Organophosphate Insecticides and Herbicides: Diazinon,
17   Glyphosate, Malathion, Parathion, and Tetrachlorvinphos at 41 (2015),
     http://monographs.iarc.fr/ENG/Monographs/vol112/mono112-10.pdf. Bare allegations in a
18   complaint cannot substitute for admissible expert testimony where required. See, e.g., In re
     Mirena IUD Prod. Liab. Litig., 202 F. Supp. 3d 304, 316 (S.D.N.Y. 2016) (“[T]he issue of
19   secondary perforation is outside the realm of common knowledge and experience of a lay juror,
     which in all jurisdictions means that expert testimony is required.”), aff’d, No. 16-2890-cv(L),
20   2017 WL 4785947 (2d Cir. Oct. 24, 2017).
     9
       See Dep. of Alfred Neugut 61:16-20 (Aug. 7, 2017), ECF No. 546-3 (“Neugut Dep.”) (“Q. So,
21   looking just at the epidemiological data, bias and confounding cannot be excluded as an
     explanation for the findings in those studies; correct? A. Yes.”); Nabhan Dep. 102:2-7 (“Q. So
22   you agree that the epidemiology evidence with regard to glyphosate and NHL is credible but
     chance, bias, or confounding cannot be ruled out without reasonable confidence; is that right? A.
23   If this is what the IARC said, then I do agree with that.”). IARC reached the same conclusion
     without the benefit of recent epidemiologic data from the AHS and North American Pooled Project
24   (“NAPP”) that the IARC Working Group Chair, Dr. Blair, conceded show no association between
     GBHs and NHL, Dep. of Aaron Blair 119:13-25, 145:25-148:6, 172:11-15, 173:6-23 (Mar. 20,
25   2017), ECF No. 546-17 (“Blair Dep.”). In her expert report, Dr. Ritz stated that she “concur[red]
     with the IARC conclusions after conducting my own independent analysis of the studies included
26   in the IARC review.” Expert Report of Beate Ritz at 16, ECF No. 546-9 (“Ritz Report”).
     However, in her deposition taken after this same concession was highlighted in deposition cross of
27   plaintiffs’ other epidemiology experts, Dr. Ritz claimed that the statement in her expert report was
     not addressing IARC’s conclusion regarding the epidemiologic evidence. Dep. of Beate Ritz
28                                             7
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 1   plaintiffs’ experts also agree that the epidemiologic evidence is insufficient to show a causal

 2   relationship between GBHs and NHL.10

 3          These concessions about the “best proof” are fatal to plaintiffs’ experts’ causation

 4   methodology. As the Reference Manual’s Reference Guide on Epidemiology explains: “Three

 5   general categories of phenomena can result in an association found in a study to be erroneous:

 6   chance, bias, and confounding. Before any inferences about causation [] are drawn from a study,

 7   the possibility of these phenomena must be examined.” M. Green et al., Reference Guide on

 8   Epidemiology, in Reference Manual on Scientific Evidence 549, 572 (3d ed. 2011),

 9   https://www.fjc.gov/sites/default/files/2015/SciMan3D01.pdf (“Reference Manual”); see also

10   Nelson v. Tenn. Gas Pieline Co., 243 F.3d 244, 253 (6th Cir. 2001) (“[b]efore any inferences are

11   drawn about causation, the possibility of other reasons for the association must be examined,

12   including chance, biases … , and confounding causes”); In re Denture Cream Prod. Liab. Litig.,

13   No. 09-2051, 2015 WL 392021, at *24 (S.D. Fla. Jan. 28, 2015) (granting defendant’s Daubert

14   motion where epidemiologist failed to assess exposure, “adjust for confounders, and account for

15   bias”), aff’d sub nom. Jones v. SmithKline Beecham, 652 Fed. App’x 848 (11th Cir. 2016).

16          Plaintiffs seek to distract the Court’s attention from these dispositive concessions by

17   presenting a chart prepared prior to the publication of AHS 2017 with confounded and overlapping

18   data from other epidemiologic studies to create a misimpression of a body of statistically
19   significant positive associations between GBHs and NHL. Opp. at 23; see Expert Report of

20   Lorelei Mucci at 63, ECF No. 546-18 (“Mucci Report”); In re: Zoloft (Sertraline Hydrocloride)

21   Prod. Liab. Litig., No. 12-md-2342, 2015 WL 7776911, at *9–11 (E.D. Pa. Dec. 2, 2015)

22

23
     57:10-58:2 (Sept. 18, 2017), ECF No. 546-13 (“Ritz Dep.”).
     10
24      See, e.g., Neugut Dep. 40:2-8 (“Q. You agree that the epidemiology alone is not sufficient to
     show a causal relationship between glyphosate and non-Hodgkin’s lymphoma; is that correct? A.
25   For – for the purposes for which they were evaluating it, I would say that’s correct.”); Dep. of
     Christopher Portier 140:16-141:15 (Sept. 5, 2017), ECF No. 546-2 (“Portier Dep.”) (“A. [T]he
26   question was whether the epidemiology data, by itself, demonstrates causality, and the answer to
     the question is no” because “for the epidemiology data to exhibit clear causality, it would have had
27   to be sufficient instead of limited in the IARC review. I still believe it’s limited and not sufficient
     by itself to demonstrate causality.”).
28                                             8
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 1   (excluding testimony of expert epidemiologist who improperly claimed replication of study results

 2   based upon studies using overlapping data), aff’d, 858 F.3d 787 (3d Cir. 2017).11 They do not

 3   dispute, however, that all of the epidemiologic findings for GBHs and NHL arise out of just four

 4   data populations: the AHS cohort study and case-control studies from North America, France, and

 5   Sweden. Nor do they dispute that the most fully-adjusted relative risks and odds ratios for GBHs

 6   and NHL in each study population are directly contrary to their misleading chart, with findings that

 7   hover above and below the null result of 1.0 and that do not report any statistically significant

 8   positive associations. As discussed in Monsanto’s Motion, statistical significance is “an important

 9   metric to distinguish between results supporting a true association and those resulting from mere

10   chance.” Mtn. at 11 (citing In re Zoloft, 858 F.3d at 793). And where confidence intervals, such

11   as all of those listed below, “do not show any increased risk, and indeed, show a decreased risk,

12   [because they] include[] values less than 1.0, we would say the study does not demonstrate a

13   ‘statistically significant’ increased risk of an adverse outcome.” Id. (quoting In re Bextra, 524 F.

14   Supp. 2d at 1174).

15

16

17

18
     11
19      None of the individual odds ratios presented on plaintiffs’ chart are adjusted for other
     confounding pesticide exposures, despite the fact that adjusted odds ratios or relative risks are
20   reported in most of the studies. See, e.g., Ritz Dep. 155:14-25, 157:20-158:5. The chart multiplies
     these confounded data points by presenting separate odds ratios for the Lee, De Roos, Cantor,
21   McDuffie, and Hohenadel studies despite the fact that the data from each of those studies is
     incorporated into the pooled analysis of the NAPP, which is separately listed, albeit only through
22   an odds ratio that is not adjusted for other confounding pesticide exposures. See Mucci Report at
     37 & Figure 3. The chart likewise double dips by presenting sub-analyses of confounded data
23   from the same primary studies, including eight subtype odds ratios from M. Eriksson et al.,
     Pesticide Exposure as Risk Factor for Non-Hodgkin Lymphoma Including Histopathological
24   Subgroup Analysis, 123 Int’l. J. Cancer 1657, 1658 (2008), ECF No. 652-8 (“Eriksson 2008”), four
     subtype odds ratios from L. Orsi et al., Occupational Exposure to Pesticides and Lymphoid
25   Neoplasms Among Men: Results of a French Case-Control Study, 66 Occupational Envtl. Med.
     291 (2009), ECF No. 654-3 (“Orsi 2009”), and four subtype odds ratios from M. Pahwa et al., An
26   Evaluation of Glyphosate Use and the Risk of Non-Hodgkin Lymphoma Major Histological Sub-
     Types in the North American Pooled Project at Slide 26 (Aug. 31, 2015), ECF No. 651-12.
27   Plaintiffs’ counsel’s attempt to characterize these overlapping odds ratios as independent for
     purposes of their concocted probability calculation, Opp. at 24, is spurious.
28                                             9
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      Study                        Relative Risk/Odds Ratio       Rows on Plfs’ Chart (Opp at 23)12
 1
      AHS Study (2005, 2013,       1.1 (0.7, 1.9)13               13, 14, 15
 2    2017)                        0.9 (0.7, 1.1)14
                                   0.87 (0.64, 1.2)15
 3    NAPP (2015)                  1.13 (0.84, 1.51)16            1, 3, 4, 5, 6, 7, 8, 9, 14, 15, 20, 23, 29,
                                   0.95 (0.69, 1.32)17            33
 4    Eriksson (2008)              1.51 (0.77, 2.94)18            2, 14, 15, 17, 18, 21,24, 27,30, 31, 32
 5    Orsi (2009)                  1.0 (0.5, 2.2)19               11, 14, 15, 19, 21, 25, 27

 6          Although their experts seek to rely on meta-analyses conducted before disclosure of the

 7   Alavanja 2013 and the 2015 NAPP data, plaintiffs also do not and cannot deny that the same

 8   analyses using that adjusted epidemiologic data yields a meta-relative risk of 1.0 (0.86, 1.12), a

 9   completely null result.20 This null finding is further bolstered by AHS 2017. Plaintiffs’ experts’

10   assertions that they can nonetheless offer a reliable expert opinion that the GBH epidemiology

11   supports a finding of general causation rests upon a series of flawed methodologies.

12          A. Plaintiffs’ Experts Improperly Rely on Confounded Data.

13          “To make a judgment about causation, a knowledgeable expert must consider the possibility

14
     12
15      The rows from plaintiffs’ chart listed in this column set forth unadjusted findings that are either
     encompassed within the adjusted null findings of the study identified in column 1 or, for the meta-
16   analyses on lines 14-15 of plaintiffs’ chart, are included within the those findings.
     13
        A. De Roos et al., Cancer Incidence Among Glyphosate-Exposed Pesticide Applicators in the
17   Agricultural Health Study, 113 Envtl. Health Perspectives 49 (2005), ECF No. 653-12 (“De Roos
     2005”).
18   14
        M. Alavanja et al., DRAFT-Lymphoma Risk and Pesticide Use in the Agricultural Health Study
     (Mar. 15, 2013), ECF No. 650-4 (“Alavanja 2013”); E. Chang et al., Meta-Analysis of Glyphosate
19   Use and Risk of Non-Hodgkin Lymphoma, Exponent 1, 4 (2017), ECF No. 652-10.
     15
20      AHS 2017 Table 2 (highest quartile intensity weighted exposure).
     16
        See Ritz Dep. 280:15-22 (including data from both proxies and self-respondents).
21   17
        See Ritz Dep. 306:9-17 (self-respondents only).
22   18
        Eriksson 2008 at Table VII.
     19
23      Orsi 2009 at Table 3.
     20
        See Mucci Report at 60; Blair Dep. 182-83, 189 (acknowledging that incorporation of updated
24   AHS data and NAPP pooled data would reduce the meta-relative risk for GBHs and NHL and show
     no statistically significant association). This updated meta-analysis underscores this Court’s proper
25   skepticism of meta-analyses of observational studies. In re Bextra, 524 F. Supp. 2d at 1174. That
     skepticism is warranted because it demonstrates that the associations reported in the earlier meta-
26   analyses were due in their entirety to the failure of the underlying North American case-control
     studies to properly adjust for confounding by other pesticide exposures and publication bias that
27   excluded consideration of the most updated and comprehensive findings from the AHS and the
     NAPP. See infra at 15-16, 19-21.
28                                             10
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 1   of confounding factors.” Reference Manual at 591. As this Court has recognized, an epidemiologic

 2   study cannot provide evidence of general causation unless it “properly accounts for potential

 3   confounding factors.” In re Bextra, 524 F. Supp. 2d at 1172 (internal quotations omitted); see also

 4   Magistrini v. One Hour Martinizing Dry Cleaning, 180 F. Supp. 2d 584, 604 (D.N.J. 2002) (“When

 5   evaluating the internal validity of a study, the researcher or scientist must account for the roles of

 6   bias, confounding factors, and the likelihood that the observed association is due to chance.”)

 7   (granting motion to exclude plaintiff’s expert), aff’d, 68 Fed. App’x 356 (3d Cir. 2003).

 8          The possibility of confounding is particularly important here because, as plaintiffs’ experts

 9   concede, epidemiologic studies have reported an increased risk of NHL in farmers that predates the

10   introduction of GBHs.21 Accordingly, plaintiffs’ experts acknowledge that other pesticide

11   exposures may be a “major confounder for the issue of whether glyphosate can cause [NHL],”

12   Weisenburger Dep. 93:16-23, and that scientists need to “control for those other possible

13   confounders to be sure [one is] actually studying glyphosate.” Blair Dep. 91:23-92:4; see also

14   Neugut Dep. 67:19-68:21 (agreeing that “an epidemiological analysis of glyphosate and non-

15   Hodgkin’s lymphoma should control for exposures to these other pesticides”); Ritz Report at 16

16   (use of most fully-adjusted odds ratios, such as those that adjust for other pesticide exposures,

17   “gives the reader confidence that the findings are most likely due to glyphosate/Roundup exposure,

18   instead of another potential cause that acts as a confounder”).22
19          Notwithstanding this case law and their experts’ concessions, plaintiffs now argue, without

20   Daubert-based precedent, that their experts should be allowed to rely on odds ratios that have not

21
     21
22      See Neugut Dep. 66:19-67:7 (“there is something going on with farmers and their exposures that
     is leading to an increased risk of non-Hodgkin’s lymphoma that we know for a fact is not
23   glyphosate”); Dep. of Dennis Weisenburger 179:24-180:5 (Sept. 11, 2017), ECF No. 546-16
     (“Weisenburger Dep.”) (same); Blair Dep. 90:15-20 (same); Ritz Dep. 331:10-23 (same).
     22
24      Plaintiffs’ argument that Monsanto is estopped from pointing out this flaw in their experts’
     methodology based upon its objections to plaintiffs’ request for admissions regarding other
25   pesticides is spurious. Monsanto is not a manufacturer of the other pesticides and has no expert
     knowledge regarding those pesticides, therefore its uncontested objections to discovery requests
26   regarding those pesticides cannot in any event give rise to estoppel. See Posen v. Ozier, No. CV17-
     07, 2017 WL 4269957, at *3 (D. Mont. Sept. 26, 2017) (quoting Hamilton v. State Farm Fire Cas.
27   Co., 270 F.3d 778, 783 (9th Cir. 2001) (The Ninth Circuit restricts “judicial estoppel to cases where
     the court relied on, or ‘accepted,’ the party’s previous inconsistent position.”)).
28                                             11
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 1   been controlled for other pesticide exposures. Plaintiffs are forced to take this extraordinary

 2   position because, as their own expert Dr. Neugut concedes, there is no fully-adjusted odds ratio

 3   anywhere in the epidemiologic literature that reports a statistically significant positive association

 4   between GBHs and NHL. Neugut Dep. 158:23-159:6. Indeed, as shown in the chart on page 10,

 5   without resorting to this improper methodology, the GBH epidemiology consistently demonstrates

 6   no association whatsoever between GBHs and NHL. Plaintiffs cannot avoid this fatal

 7   methodological flaw.

 8             Plaintiffs contend that there is one study (A. De Roos et al., Integrative Assessment of

 9   Multiple Pesticides as Risk Factors for Non-Hodgkin’s Lymphoma among Men, 60 Occup Envtl.

10   Med. 1 (2003), ECF No. 652-9 (“De Roos 2003”)) that reports in its logistic regression analysis a

11   statistically significant positive association adjusted for exposure to other pesticides, and they argue

12   that Dr. Neugut “misspoke” twice in response to “a misleading question” in testifying to the

13   contrary. Opp. at 25 n.70; Errata Sheet to the Dep. of Alfred Neugut (served Nov. 5, 2017) (Ex. 4).

14   Notably, plaintiffs first made this argument in their opposition brief, which they filed nine days

15   before serving Dr. Neugut’s purported errata sheet and almost a month after receiving Monsanto’s

16   motion discussing why Dr. Neugut’s admissions regarding this study doomed their claims.

17   Plaintiffs’ convenient argument that Dr. Neugut “misspoke” is undercut by his unambiguous

18   testimony:
19                Q.      There is no odds ratio anywhere in the epidemiological literature that reports
                          for glyphosate and non-Hodgkin’s lymphoma an adjusted odds ratio positive
20                        association statistically significant; correct?
                          MR. TRAVERS: Objection, misstates the evidence.
21
                  A.      Not that -- correct, for the herbicides, for the -- um-hum.
22                                            ***
23                Q.      Did not -- De Roos did not control for these other pesticide exposures in the
                          logistic regression analysis; correct?
24                A.      No.
                  Q.      Again, the answer is unclear from my question. Is it correct that Dr. De Roos
25                        did not control for the other pesticide exposures in the logistic analysis?
                  A.      That’s correct.
26
     Neugut Dep. 158:23-59:6; 234:7-15.23 Plaintiffs’ efforts to alter Dr. Neugut’s initial testimony
27
     23
          Plaintiffs point to deposition testimony of a study co-author, Dr. Weisenburger, as confirmation
28                                             12
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 1   after realizing it is fatal to their claims must be rejected. Hambleton Bros. Lumber Co. v. Balkin

 2   Enters., Inc., 397 F.3d 1217, 1224-26 (9th Cir. 2005) (refusing to consider deposition errata sheet

 3   where “‘corrections’ were not corrections at all, but rather purposeful rewrites tailored to

 4   manufacture an issue of material fact”).24

 5          In any event, as their expert Dr. Ritz acknowledges, all of the data in De Roos 2003 was

 6   pooled into the subsequent NAPP study, which plainly does not report a statistically significant

 7   increased risk for GBHs when controlled for other pesticides. See Ritz Dep. 276:23-277:12.25

 8   Plaintiffs struggle mightily to avoid the adjusted OR = 1.13 (0.84, 1.51) null finding in the NAPP,

 9   arguing that a native file of a slide deck presentation of the NAPP data indicates that one of the

10   slides in which this odds ratio was reported was removed from the presentation. Opp. at 27 n.76

11   (citing Expert Rebuttal Report of Beate Ritz at 8, ECF No. 653-2). Plaintiffs do not explain how

12   the decision of whether to present this slide at a conference is relevant to the scientific inquiry, but

13   in any event, the same odds ratio is included in an earlier slide (slide 10) that was presented at the

14   conference. The same null 1.13 odds ratio also is included in the draft manuscript of the NAPP

15   study upon which plaintiffs otherwise rely. Opp. at 27; M. Pahwa et al., An Evaluation of

16   Glyphosate Use and the Risk of Non-Hodgkin Lymphoma Major Histological Subtypes in the North

17   American Pooled Project (NAPP) at 12 (Sept. 21, 2015) (unpublished draft), ECF No. 653-6.

18
19
     that this logistic regression analysis adjusted for other pesticide exposures. Opp. at 25. In his full
20   testimony, however, Dr. Weisenburger made clear that he did not know how the logistic regression
     was calculated. See Weisenburger Dep. 115:3-122:9.
21   24
        See Mullins v. Premier Nutrition Corp., 178 F. Supp. 3d 867, 902-03 (N.D. Cal. 2016) (same);
22   Stevens v. CoreLogic, Inc., No. 14-cv-1158, 2016 WL 8729928, at *6 (S.D. Cal. May 6, 2016)
     (same); Garcia v. Pueblo C.C., 299 F.3d 1233, 1242 n.5 (10th Cir. 2002) (“We do not condone
23   counsel’s allowing for material changes to deposition testimony and certainly do not approve of
     the use of such altered testimony that is controverted by the original testimony.”); Rios v. Welch,
24   856 F. Supp. 1499, 1502 (D. Kan. 1994) (“[A] plaintiff is not permitted to virtually rewrite
     portions of a deposition, particularly after the defendant has filed a summary judgment motion
25   simply by invoking the benefits of Rule 30(e) ... . [A] deposition is not a ‘take home examination’
     and an ‘errata sheet’ will not eradicate the import of previous testimony taken under oath.”).
     25
26      Plaintiffs’ experts agree that “once you pool those studies into a larger study, it’s that later
     pooled study that provides all the data relevant to a causation theme.” See Neugut Dep. 228:17-21;
27   Ritz Dep. 284:9-19; see also Ritz Dep. 218:5-14 (opining that pooled analyses are more powerful
     than studies upon which they are based).
28                                             13
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 1          Plaintiffs alternatively argue that Dr. Ritz appropriately relied on unadjusted NAPP odds

 2   ratios, pointing to her deposition testimony that the NAPP adjustment for three other pesticides

 3   would only be appropriate if those pesticides were themselves risk factors for NHL. Opp. at 27 &

 4   n.75.26 This argument is directly contrary to Dr. Ritz’s statement in her expert report that use of the

 5   most fully-adjusted odds ratios “gives the reader confidence” in the analysis of the GBH NHL

 6   studies, Ritz Report at 16, which was made before Dr. Ritz learned of the null findings in the

 7   adjusted NAPP analysis. See Ritz Dep. 277:18-278:4. Dr. Ritz’s abrupt about-face upon learning

 8   of this important evidence itself casts doubt on her methodology.27 Moreover, Dr. Ritz conceded

 9   that at least two of the three pesticides in the NAPP adjustment are risk factors for NHL, see Ritz

10   Dep. 424:9-19, and she could not opine which NAPP analysis (adjusted or unadjusted) she believed

11   was more valid, stating “[t]hat’s a question I cannot answer.” Id. 296:5-15.

12          Plaintiffs likewise ignore confounding in relying on unadjusted findings in the Eriksson

13   2008 study.28 As Dr. Neugut explained, because of the failure to adjust for other pesticide

14   exposures, it is “impossible to tell” whether the odds ratios for GBHs upon which plaintiffs rely

15   would be elevated if controlled for the use of such pesticides. Neugut Dep. 291:11-16.

16          B. Plaintiffs’ Experts Improperly Rely on Biased Data.

17          Courts routinely reject expert causation opinions based upon epidemiologic studies that fail

18   to exclude the possibility of bias.29 Plaintiffs’ experts agree that bias must be taken into account
19
     26
        Even here, Dr. Ritz inexplicably relies on outdated data, citing unadjusted odds ratios contained
20   in an earlier abstract that were each recalculated and lowered by the time the data was presented at
     the conference, long before she submitted her expert report. See Occupational Cancer Research
21   Centre, An Detailed Evaluation of Glyphosate Use and the Risk of Non-Hodgkin Lymphoma in the
     North American Pooled Project (NAPP), CSEB Conference (June 3, 2015), ECF No. 650-3.
22   27
        See Lemmermann v. Blue Cross Blue Shield of Wis., 713 F. Supp. 2d 791, 807 (E.D. Wis. 2010)
23   (“[P]ropelling the court’s conclusion that Dr. al-Saghir’s methodology … is unreliable is the fact
     that the [opinion] appears to have been ‘cooked up’ in the haste of deposition testimony after the
24   doctor’s original [opinion] ... could not survive even the slightest scrutiny in the form of the
     opposing counsel’s questioning.”).
     28
25      See Ritz Dep. 308:2-10 (conceding that the only odds ratio in Eriksson 2008 adjusted for other
     pesticide exposures is the multivariate analysis that finds no statistically significant association
26   between glyphosate and NHL); Neugut Dep. 209:5-11 (Eriksson study’s latency, dose-response and
     subtype analyses do not adjust for exposures to other pesticides).
27   29
        See, e.g., In re Denture Cream, 2015 WL 392021, at *24; In re Prempro Prod. Liab. Litig., 765
     F. Supp. 2d 1113, 1119 (W.D. Ark. 2011); Maras v. Avis Rent A Car System, Inc., 393 F. Supp. 2d
28                                             14
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 1   before any causal inference can be reached. As Dr. Ritz explained, “[w]hat I teach my students is

 2   that what we have to make sure is that there’s no bias and that [is] before everything else we are

 3   ever considering. So I would not even consider data unless we would go through a rigorous

 4   analysis of all of the biases.” Ritz Dep. 47:12-18; see also Neugut Dep. 71:10-19 (bias can lead to

 5   a “reported odds ratio, a risk ratio, that is actually not reflective of the true association, because it

 6   has been artificially shifted in a certain direction, either higher or lower”).

 7           Plaintiffs’ experts each identified a variety of biases that must be considered in interpreting

 8   epidemiologic data. Expert Report of Alfred Neugut at 7-9, ECF No. 546-11 (“Neugut Report”);

 9   Ritz Report at 7-8. They failed, however, to conduct a “rigorous analysis” of these biases in

10   reaching their opinions, relying instead on any cherry-picked data point they could find that might

11   support their causation opinion. Two illustrations demonstrate the impact of this flawed

12   methodology.

13           First, Dr. Ritz relies heavily on the Eriksson 2008 study, which plaintiffs’ Opposition

14   highlights at pages 24-25 and in multiple rows of the chart on page 23. But as Dr. Neugut

15   concedes, Eriksson 2008 suffers from a systemic flaw that renders all of its analyses illegitimate.

16   See Neugut Dep. 276:11-277:22, 281:7-18. This flaw arises from the authors’ decision to limit

17   their comparison group of unexposed individuals to those who were not exposed to any pesticides

18   whatsoever. Id. 280:8-14. Because individuals exposed to GBHs routinely have exposure to other
19   pesticides that have been identified as potential NHL risk factors, the Eriksson odds ratios do not

20   measure whether exposure to GBHs is associated with NHL but rather measure whether exposure

21   to a mixture of pesticide exposures is associated with NHL. This can best be understood by

22   recalling the basic structure of a case-control study, in which the odds of an exposure in a diseased

23   case population is compared to the odds of exposure in a healthy control population:

24           (NHL, with exposure)/(NHL, with no exposure)                   = Odds ratio
             (Healthy, with exposure)/(Healthy, with no exposure)
25

26
27
     801, 807-09 (D. Minn. 2005); Magistrini, 180 F. Supp. 2d at 604-05.
28                                             15
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 1          This systemic flaw in Eriksson 2008 makes it impossible to separate out the effects of

 2   different pesticide exposures, including exposures to other pesticides that were banned because of

 3   safety concerns, and helps explain why the study reports elevated NHL odds ratios for every

 4   pesticide analyzed in the study. See Eriksson 2008, Tables II, III, IV, V, and VI. This universal

 5   finding of elevated odds ratios suggests that the study suffers from recall bias, i.e., an exaggeration

 6   of odds ratios, because cases (with NHL) are more likely to recall exposures than controls.30

 7          Second, Dr. Ritz seeks to rely on NAPP data that includes proxy respondents (i.e., data

 8   provided by spouses or family members rather than the study subject), despite the generally

 9   accepted epidemiologic concern that proxy respondent data is less reliable than self-respondent

10   data. See Neugut Dep. 264:10-17, 265:23-266:4; Blair Dep. 140:15-23; Reference Manual at 586

11   (“Bias may also result from reliance on interviews with surrogates who are individuals other than

12   the study subjects.”). The bias introduced through the use of proxy respondents in the North

13   American case-control studies was not identified until the data was pooled in the NAPP. When the

14   NAPP looked solely at the more reliable self-respondent data, the NAPP odds ratio dropped from

15   an already null finding of OR= 1.13 (0.84, 1.51) to an OR = 0.95 (0.69, 1.32). See Mucci Report at

16   46-47. This proxy bias also is evident in other analyses conducted with the same North American

17   case-control study populations. See Blair Dep. 139:18-141:4; Mucci Report at 21.

18          C. Plaintiffs’ Experts Improperly Rely on Non-Significant Data.
19          Dr. Neugut acknowledged that he “would not label an exposure as being associated with an

20   outcome unless there is a finding of an increased risk that is statistically significant.” Neugut Dep.

21   45:7-18. But faced with their own experts’ concessions that chance cannot be excluded as an

22   explanation for the findings in the GBH epidemiologic literature, plaintiffs now argue that

23   statistical significance is not necessary. Opp. at 38-39. Plaintiffs contend that their argument is

24
     30
25      See Mucci Report at 55; Expert Report of Jennifer Rider at 29-30, ECF No. 652-6 (“Rider
     Report”); see also Reference Manual at 585 (“Research has shown that individuals with disease
26   (cases) tend to recall past exposures more readily than individuals with no disease (controls); this
     creates a potential for bias called recall bias.”); Ritz Dep. 310:2-312:4 (admitting that recall bias is
27   a concern if all chemicals in a study report elevated odds ratios but contending – contrary to the
     data – that this did not occur in Eriksson).
28                                             16
      MONSANTO’S REPLY MEM. ISO ITS DAUBERT & SUMM. J. MTN. RE GENERAL CAUSATION AND OPP.
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 1   supported by Matrixx Initiatives, Inc. v. Siracusano, 563 U.S. 27, 40-41 (2011), but the Supreme

 2   Court in that case was addressing a separate issue of materiality for purposes of securities

 3   disclosure requirements and expressly disavowed any opinion regarding whether expert testimony

 4   based on non-significant findings is properly admitted. When it was confronted with this issue in

 5   the Daubert context, the Supreme Court rejected expert general causation testimony based upon

 6   non-significant findings. See Joiner, 522 U.S. at 145.

 7          Numerous courts have faithfully followed Joiner’s guidance. Those courts have recognized

 8   that “[i]n [] the absence of a statistically significant difference upon which to opine, [an expert’s

 9   general causation] opinion must be excluded under Daubert.” Good v. Fluor Daniel Corp., 222 F.

10   Supp. 2d 1236, 1243 (E.D. Wash. 2002).31

11          D. Plaintiffs’ Experts Improperly Dismiss the Findings of the Only Prospective
               Cohort Study to Examine GBHs and NHL.
12

13          Plaintiffs’ experts concede that cohort studies generally are preferred over case-control

14   studies because case-control studies are more susceptible to bias.32 Plaintiffs’ experts also concede

15   that the AHS is the only cohort study to examine a putative association between GBHs and NHL

16   and is specifically designed to address some of the limitations in the case-control studies, including

17   recall and selection bias. See Neugut Dep. 124:1-4; Blair Dep. 94:6-96:1; 155:25-157:21. These

18   concessions highlight a significant flaw in their experts’ causation methodologies because the 2005
19   published AHS study of GBHs unambiguously concluded that “[n]o association was observed

20   between NHL and [GBH] exposure in any analysis, including an analysis comparing the highest

21   with the lowest quintile of exposure.” De Roos 2005 at 51. And the just-published 2017 updated

22   31
        See Burst v. Shell Oil Co., Civ. Action No. 14-109, 2015 WL 3755953, at *13 (E.D. La. June 16,
23   2015), (“[T]he guidance of the Supreme Court and the Fifth Circuit instructs that [studies that do
     not demonstrate statistically significant results] do not reliably support epidemiologists’ general
24   causation opinions in the context of toxic tort litigation.”), aff’d, 650 F. App’x 170 (5th Cir. 2016),
     cert. denied, 137 S. Ct. 312 (2016); Miller v. Pfizer, Inc., 196 F. Supp. 2d 1062, 1080 (D. Kan.
25   2002) (expert must have statistically significant studies as the basis of a general causation opinion).
     32
        Neugut Dep. 72:1-73:1, 73:17-74-4, 77:6-78:25; Ritz Dep. 317:2-318:11 (conceding that the
26   scientific community views cohort studies as having greater validity than case-control studies); see
     also Carl v. Johnson & Johnson, Nos. ATL-L-6546-14, ATL-L-6540-14, 2016 WL 4580145, *19
27   (N.J. Super. Ct. Sept. 2, 2016) (case-control studies “are considered less reliable than a prospective
     cohort study”).
28                                             17
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 1   AHS study (with 11 years of additional follow-up and four times the number of GBH-exposed

 2   cancer cases) likewise “observed no associations between glyphosate use and NHL overall or any

 3   of its subtypes.” AHS 2017 at 7.

 4          Prior to the publication of the AHS 2017 study, plaintiffs proffered three arguments to cure

 5   their experts’ error. First, they argued, in sharp contrast to the study investigators’ conclusions, that

 6   De Roos 2005 study actually supports their experts’ causation opinion. Opp. at 32. But plaintiffs’

 7   own experts disagree. See Neugut Dep. 127:11-18 (agreeing that De Roos 2005 “does not provide

 8   evidence that would validate the hypothesis that glyphosate exposure causes non-Hodgkin’s

 9   lymphoma”); Weisenburger Dep. 190:18-191:20 (agreeing that De Roos 2005 was a negative

10   study); Ritz Dep. 323:8-12 (testifying that De Roos 2005 “contributes very little” evidence in

11   support of the hypothesis that GBHs causes NHL); Blair Dep. 155:11-157:21 (De Roos 2005 dose

12   response analysis found a negative association between GBH exposure and NHL).33

13          Second, plaintiffs sought to flip the Daubert evidentiary burden by arguing that Monsanto’s

14   evidence of a lack of carcinogenicity is itself limited. As an initial matter, they suggest that

15   Monsanto is relying solely on the AHS cohort findings of no association between GBHs and NHL.

16   Opp. at 1. As set forth in Monsanto’s opening brief and supra at 8-10, this is false. While the GBH

17   case-control studies do suffer from a series of methodological flaws, the fully adjusted findings in

18   the case-control studies likewise show no association, with the most reliable self-respondent data
19   from the pooled analysis of all of the North American case-control studies reporting a negative

20   association of OR = 0.95.

21          Third, Plaintiffs and their experts raised a number of criticisms regarding De Roos 2005.

22   But even assuming their experts would persist in those criticisms in light of the new AHS 2017

23   study, criticisms of existing tests are not a proxy for admissible expert testimony under Daubert.

24
     33
25      The defense expert testimony cited by plaintiffs is not to the contrary. The cited testimony
     speaks only to association, not causation. See Allison v. McGhan Med. Corp., 184 F.3d 1300, 1315
26   n.16 (11th Cir. 1999) (“[s]howing association is far removed from proving causation”); Nelson, 243
     F.3d at 253 (same); Reference Manual at 574 (same); see also Rider Dep. 262:5-22 (explaining that
27   study reporting modest increased incidence of prostate cancer did not make any claims about
     evidence of causality).
28                                             18
      MONSANTO’S REPLY MEM. ISO ITS DAUBERT & SUMM. J. MTN. RE GENERAL CAUSATION AND OPP.
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 1   See, e.g., Caraker, 188 F. Supp. 2d at 1034 (“Plaintiffs’ experts’ broad criticisms of the existing

 2   epidemiological evidence do [] not help them meet their burden,” as “plaintiffs’ burden is an

 3   affirmative one, not served by such attacks.”); Sanderson v. Int’l Flavors & Fragrances, Inc., 950

 4   F. Supp. 981, 1000-01 (C.D. Cal. 1996) (holding that there is “no authority whatsoever for

 5   [plaintiff’s] outlandish contention” that where “the lack of scientific evidence regarding the effects

 6   of a product is the result of the manufacturer’s failure to test” plaintiff should be “excused from the

 7   burden” of proving causation); Norris v. Baxter Healthcare Corp., 397 F.3d 878, 886 (10th Cir.

 8   2005) (“Mere criticism of [existing studies] cannot establish causation.”); Hollander, 289 F.3d at

 9   1213 (same).34 Moreover, plaintiffs’ experts abandoned many of their criticisms of De Roos 2005.35

10          E. Plaintiffs’ Experts’ Outcome-Driven Treatment of Unpublished Studies Likewise
               Demonstrates the Unreliable Nature of Their Methodology.
11
            In an attempt to avoid the powerful evidence of no association between GBHs and NHL in
12
     the Alavanja 2013 cohort study, plaintiffs and their experts rely heavily on the fact that the
13
     herbicide findings in the study were not published. Opp. at 34-38; see Neugut Dep. 189:14-190:3
14
     (testifying that he did not even read Alavanja 2013); Ritz Dep. 347:16-348:19 (acknowledging that
15
     34
16      Plaintiffs reliance on two reports prepared for CropLife America is likewise unavailing. Neither
     of these reports makes any mention of glyphosate or De Roos 2005 and they each observe that the
17   AHS study design is more reliable than the case-control study designs used in the other agricultural
     epidemiology studies. See, e.g., G. Gray et al., The Federal Government’s Agricultural Health
18   Study: A Critical Review with Suggested Improvements, 6 Hum. & Ecological Risk Assessment 47,
     50 (2000), ECF No. 653-11 (“We are particularly enthusiastic about the prospective cohort study
19   of cancer outcomes because it responds directly to some of the methodological weaknesses of prior
     epidemiologic studies of farmers and pesticides.”); Exponent, Design of Epidemiologic Studies for
20   Human Health Risk Assessment of Pesticide Exposures, CropLife America at 15 (Jan. 4, 2016),
     ECF No. 652-7 (“The Agricultural Health Study Questionnaires were highly detailed, thorough,
21   and thoughtfully designed. Few, if any, other epidemiologic studies have conducted more
     exhaustive questionnaire-based assessments of pesticide exposures.”); id. at 18 (“The [AHS]
22   questionnaires were particularly extensive … and the cohort was sufficiently large as to enable
     simultaneous statistical adjustment[s] for several potential confounders.”); id. at 22 (“The [AHS]
23   … cohort[] went farther than most in terms of conducting validation studies and sensitivity
     analyses, acknowledging sources of error and bias, and documenting exposure assessment
24   approaches.”). Plaintiffs’ reliance on Monsanto employee statements made six years before De
     Roos 2005 is likewise unavailing.
     35
25      See Neugut Dep. 141:20-142:7 (abandoning criticism that De Roos 2005 underestimated
     glyphosate risk based on confounding from 2,4-D exposure in other farmers); id. 162:8-15
26   (conceding that latency is not a major problem in De Roos 2005); id. 152:22-153:10
     (acknowledging that De Roos 2005 may be the most powerful epidemiologic study regarding
27   glyphosate and NHL); id. 180:11-25 (withdrawing criticism of De Roos 2005 based on non-
     differential exposure misclassification).
28                                             19
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 1   she had not read Alavanja 2013 prior to preparing her expert report). These arguments are moot

 2   given the recent AHS 2017 peer-reviewed publication including even more updated AHS data.

 3   Notably, however, both Drs. Neugut and Ritz readily rely upon unpublished studies when they

 4   believe the studies support their opinions. See Neugut Dep. 192:15-24 (admitting that he relied

 5   upon an unpublished study to support his causation opinion in a separate litigation for the same

 6   plaintiffs’ law firm representing plaintiffs here); Opp. at 27 n.76 (discussing Dr. Ritz’s reliance on

 7   unadjusted odds ratios in unpublished NAPP manuscript); see also Siharath, 131 F. Supp. 2d at

 8   1357-58 (excluding causation testimony of expert who, among other things, failed to account for

 9   contrary findings in unpublished epidemiologic study); Lust v. Merrell Dow Pharm. Inc., 89 F.3d

10   594, 598 (9th Cir. 1996) (courts “should be wary that the [expert’s] method has not been faithfully

11   applied”).

12          Moreover, Dr. Neugut concedes that authoritative guidelines governing meta-analyses of

13   epidemiologic literature expressly instruct scientists to seek out and incorporate unpublished

14   data.36 As those guidelines explain, there is a bias against publishing studies that fail to find

15   positive associations. Neugut Dep. 104:11-19. This publication bias improperly pushes any meta-

16   analysis risk ratio above its true level if only published studies are analyzed. Id. 105:17-106:8. Dr.

17   Blair likewise has warned of the risk of publication bias and the need to take unpublished

18   epidemiologic studies into account, particularly in the field of environmental epidemiology.37
19   Indeed, while plaintiffs make much of the fact that a portion of Alavanja 2013 excluding

20   herbicides initially was rejected for publication, this rejection was attributed to the fact that the

21   study did not find associations between pesticide exposures and NHL. See E-mail from Michael

22   Alavanja, to Dale Sandler et al. (Feb. 27, 2014 1:05 PM), ECF No. 653-17; Blair Dep. 201:19-

23   202:21. Moreover, the peer-reviewer for the journal that then published the study in 2014

24
     36
25      Neugut Dep. 93:2-18, 105:7-16 (citing E. Walker et al., Meta-Analysis: Its Strengths and
     Limitations, 75 Cleveland Clinic J. Med. 431 (2008), ECF No. 651-1); see also In re Bextra, 524 F.
26   Supp. 2d at 1175 (discussing meta-analysis of published and unpublished studies).
     37
        See A. Blair et al., Guidelines for Application of Meta-Analysis in Environmental Epidemiology,
27   22 Reg. Toxicol. & Pharm. 189, 191 (1995) (“Publication bias is a critical issue in environmental
     health studies just as in other fields.”).
28                                             20
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 1   specifically criticized the authors for their decision to exclude their findings for herbicides

 2   (including GBHs). See E-mail from PLoS One editorial manager to Michael Alavanja (June 21,

 3   2014 1:56 PM), ECF No. 653-15. Plaintiffs’ argument that the 2013 and 2014 studies had

 4   different NHL counts ignores the fact that the 2014 study included different pesticides and an

 5   additional three years of NHL diagnoses.38 And, of course, the published AHS 2017 study

 6   disposes of any suggestion that the updated and powerfully negative AHS data can be ignored.

 7          Plaintiffs’ experts’ failure to account for the Alavanja 2013 cohort study is inexcusable.

 8   See In re Zoloft, 2015 WL 7776911, at *9 (excluding testimony of expert who failed to account for

 9   more recent epidemiologic findings contrary to his causation opinion); In re Lipitor (Atorvastatin

10   Calcium) Mktg., Sales Prac. & Prod. Liab. Litig., 174 F. Supp. 3d 911, 932 (D.S.C. 2016)

11   (“[F]ailing to adequately account for contrary evidence is not reliable or scientifically sound.”).

12   With an additional seven years of follow-up to De Roos 2005, Alavanja 2013 was, prior to the new

13   and likewise negative AHS 2017 publication, by far the largest study to analyze GBHs and NHL

14   and includes hundreds of NHL cases in a cohort of more than 50,000 pesticide applicators.

15   Alavanja conducted a series of analyses of GBHs and found no association whatsoever for NHL in

16   general, for any NHL subtypes (to the contrary, Alavanja reported a statistically significant

17   negative trend for large B-cell lymphoma), or for NHL and GBHs in combination with other

18   pesticides. See Blair Dep. 171:21-176:1, 190:12-199:16. This powerful data was not available to
19   IARC and was not available to any of the numerous regulatory agencies around the world which,

20   even without this data, have concluded that GBHs do not cause cancer. Id. 178:1-7, 231:3-232:18.

21          Plaintiffs attack Alavanja 2013 for its use of imputation to account for cohort members who

22   provided exposure data upon entry to the study but who did not respond to a subsequent, second-

23   phase exposure survey. Opp. at 34-35. But Dr. Ritz concedes that (1) the AHS investigators have

24   used the same imputation approach for every pesticide study they have published that includes data

25
     38
26      C. Alavanja et al., Non-Hodgkin Lymphoma Risk and Insecticide, Fungicide and Fumigant Use
     in the Ag. Health Study, PLoS One 9(10): e109332, at 2 (2014), ECF No. 653-16 (including cancer
27   diagnoses through Dec. 31, 2011); Alavanja 2013 at 7 (including cancer diagnoses through Dec.
     31, 2008).
28                                             21
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 1   from the phase 2 surveys, Ritz Dep. 357:4-16, (2) the AHS investigators have conducted and

 2   published a validation study that specifically measured the accuracy of their imputation

 3   methodology for each of 40 different pesticides (including GBHs which fell in the middle of the

 4   pack), id. 365:9-366:8, and (3) she is not aware of anyone other than herself who has stated that the

 5   imputation methodology used in the AHS is uniquely inappropriate for GBHs, id. 382:2-10.

 6   Moreover, the just-published AHS 2017 study used the same imputation approach and confirmed

 7   through a number of different sensitivity analyses that Dr. Ritz’s criticisms are without merit. AHS

 8   2017 at 2-4.

 9          F. Plaintiffs’ Experts Fail to Faithfully Apply the Bradford Hill Criteria.

10          Plaintiffs seek to cure the flaws in their experts’ methodologies by claiming that their

11   experts applied the Bradford Hill factors for assessing causation. Opp. at 16-19. This argument

12   fails at the outset because – as even Dr. Neugut concedes, Neugut Dep. 314:7-15 – they did not

13   apply the methodology in the manner prescribed. As Dr. Hill explained – and the Reference

14   Manual and numerous courts have recognized – application of the guidelines absent epidemiologic

15   evidence of an association “does not reflect accepted epidemiologic methodology.” Reference

16   Manual at 599 n.141 (citing same case law cited by Monsanto in its Mtn. at 37 n.72). The starting

17   point is where epidemiological observations “reveal an association between two variables,

18   perfectly clear-cut and beyond what we would care to attribute to the play of chance.” A. Bradford
19   Hill, The Environment and Disease: Association or Causation?, 58 Proc. R. Soc. Med. 295, 295

20   (1965), ECF No. 649-17. Thus, “[i]n assessing causation, researchers first look for alternative

21   explanations for the association, such as bias or confounding factors … . We emphasize that these

22   [Bradford Hill] guidelines are employed only after a study finds an association to determine

23   whether that association reflects a true causal relationship.” Reference Manual at 598-599.39 As

24   IARC and plaintiffs’ experts concede, the (by their measure) “limited” epidemiologic evidence on

25
     39
26      See also In re Lipitor, 174 F. Supp. 3d at 916 (“in assessing causation, epidemiologists ‘first
     look for alternative explanations for the associations, such as bias or confounding factors,’ and
27   then apply the Bradford Hill factors to determine whether an association reflects a truly causal
     relationship”) (citing Reference Manual and other case law).
28                                             22
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 1   GBHs and NHL does not meet this predicate requirement and the Bradford Hill factors

 2   accordingly do not come into play.

 3          Moreover, plaintiffs’ claim that the Bradford Hill factors support causation again is

 4   undermined by their own experts’ testimony. For example, while plaintiffs argue that the strength

 5   factor weighs in favor of causation, Dr. Neugut opined that even by his accounting the strength of

 6   association between GBHs and NHL is “not a number that would … build your confidence that this

 7   was a – that there is a causal relationship.” Neugut Dep. 333:7-16. The epidemiologic data

 8   likewise does not provide consistent evidence of an association, but rather shows no association

 9   with non-significant odds ratios and relative risks both above and below 1.0. Neugut Dep. 324:22-

10   327:9. Temporality is not satisfied in the GBH U.S.-based case-control studies because of the

11   latency period necessary for NHL to develop. Dr. Weisenburger claims that 6.7 years is too short

12   of a time to detect the development of NHL and that a minimum of 10 years of latency is required

13   to detect a relationship between GBHs and NHL. Weisenburger Report at 5. Likewise, at her

14   deposition, Dr. Ritz opined that “ten years out is a good time frame” to allow for the development

15   of NHL. Ritz Dep. 198:9-14. But the U.S. based case-control studies of farmers are based mainly

16   on NHL cases diagnosed between 1979 and 1983, Neugut Dep. 230:15-231:3, no more than 8 years

17   after GBHs were first approved for agricultural use. See EPA Mem. from Robert Taylor to

18   Monsanto (Dec. 22, 1975), ECF No. 652-12; Reference Manual at 601 (“exposure outside a known
19   latency period constitutes evidence, perhaps conclusive evidence, against the existence of

20   causation”).40

21          Finally, while plaintiffs claim that the Eriksson 2008 and McDuffie studies demonstrate a

22   dose response, their experts did not agree. See Neugut Dep. 292:25-293:8 (conceding that there is

23   no way to tell from the Eriksson study whether there is any difference between the odds ratios

24
     40
25      While plaintiffs argue that case-control studies can establish temporality, Opp. at 17-18, Dr.
     Neugut (and the Reference Manual) explain that cohort studies are needed to establish temporality.
26   Neugut Report at 8 (noting one advantage of cohort studies is that they can ensure temporality);
     Reference Manual at 558 (“one advantage of the cohort study design is that the temporal
27   relationship between exposure and disease can often be established more readily than in other study
     designs, especially a case-control design”).
28                                             23
      MONSANTO’S REPLY MEM. ISO ITS DAUBERT & SUMM. J. MTN. RE GENERAL CAUSATION AND OPP.
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 1   presented for less than ten days exposure compared to more than ten days exposure to GBHs); id.

 2   220:5-11 (agreeing that under the McDuffie “dose-response” analysis, someone with three days of

 3   exposure to GBHs could be classified as high exposure and someone with 20 days of exposure

 4   could be classified as low exposure); Ritz Dep. 265:4-18 (McDuffie study does not provide

 5   evidence of a dose response). Indeed, Dr. Neugut agreed that “there is no data anywhere in the

 6   epidemiologic literature reporting a higher risk of non-Hodgkin’s lymphoma with greater intensity

 7   exposure to glyphosate.” Neugut Dep. 133:16-20. To the contrary, as reproduced below, the data

 8   presented in AHS 2017 (Table 2 and Supp. Table 1) both for duration and intensity-weighted

 9   duration exposure to GBHs shows no such dose response:

10      GBH [exposure             NHL          RR (95% CI)             NHL          RR (95% CI)
        quintiles]                Cases        Total days of           Cases        Intensity-
11                                             exposure                             weighted days of
12                                                                                  exposure
        None                      135          1.0 (ref)               135          1.0 (ref)
13      Q1                        103          0.76 (0.57-1.01)        113          0.83 (0.59-1.18)
        Q2                        117          0.87 (0.66-1.14)        104          0.83 (0.61-1.12)
14      Q3                        107          0.85 (0.64-1.13)        112          0.88 (0.65-1.19)
        Q4                        116          0.80 (0.60-1.06)        111          0.87 (0.64-1.20)
15
            G. Plaintiffs’ Experts Improperly Seek to Lower Their Daubert Burden By Relying
16             on Purported Epidemiologic Associations Below 2.0.
17          When properly evaluated for chance, bias, and confounding, the epidemiologic literature
18   does not show any positive association whatsoever between GBHs and NHL. See supra at 7-10.
19   But even if one could accept their experts’ flawed methodology in full, plaintiffs’ expert
20   epidemiologists rest their causation opinions on an alleged association in the range of 1.3 to 1.5.
21   Neugut Dep. 331:7-15. This purported association cannot support their causation opinion under
22   Daubert given the Ninth Circuit’s holding that anything less than a doubling of the risk “actually
23   tends to disprove legal causation” because it means that there is a less than 50% chance that GBHs
24   caused any exposed individual’s NHL rather than some other cause. See Daubert v. Merrell Dow
25   Pharm., Inc. (Daubert II), 43 F.3d 1311, 1321 (9th Cir. 2005); see also Schudel v. Gen. Elec. Co.,
26   120 F.3d 991, 996 (1997), abrogated on other grounds by Weisgram v. Marley Co., 528 U.S. 440
27   (2000); McManaway v. KBR, Inc., 852 F.3d 444, 454 (5th Cir. 2017) (granting summary judgment
28                                             24
      MONSANTO’S REPLY MEM. ISO ITS DAUBERT & SUMM. J. MTN. RE GENERAL CAUSATION AND OPP.
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 1   for defendant where “studies relied on by the Plaintiffs and their experts do not reflect a statistically

 2   significant doubling of the risks of their injuries”); Mtn. at 12 n.17.41

 3            As a Los Angeles court very recently explained in reversing a $417 million jury verdict

 4   based in part upon the inadmissibility of the plaintiff’s epidemiologist’s causation testimony, “it is

 5   to be recalled that the risk ratios being cited are relative risk-ratios – comparing the risk that

 6   someone who uses talc will develop ovarian cancer to the risk that someone who did not use talc

 7   will also develop cancer. A relative risk ratio of 1.3 is well below the two-fold risk level necessary

 8   to show that talc ‘more probably than not’ causes cancer.” Order Granting New Trial and Granting

 9   Motion for Judgment Notwithstanding the Verdict, Lloyd v. Johnson & Johnson, Case No.

10   BC628228, slip op. at 29 (Cal. Super. Ct., L.A. Cty. Oct. 20, 2017) (Ex. 5) (citing Daubert II and In

11   re Lipitor (Atorvastin Calcium) Mktg., Sales Prac. & Prod. Liab. Litig., 185 F. Supp. 3d 786, 791-

12   92 (D.S.C. 2016)).

13   III.     PLAINTIFFS’ OPPOSITION BRIEF HIGHLIGHTS RATHER THAN RESOLVES
              THE METHODLOGICAL DEFICIENCIES THAT RENDER THEIR EXPERTS’
14            OPINIONS REGARDING THE ANIMAL DATA UNRELIABLE.
15            Plaintiffs agree with Monsanto that the epidemiology studies are the keys to answering the

16   general causation question here because they address what happens in humans. Supra at 7. And

17   plaintiffs cannot overcome their experts’ concessions that there is no scientific basis to extrapolate

18   to humans any of the findings they reached in evaluating the rodent glyphosate carcinogenicity

19   studies.42 Either of these facts alone is sufficient to resolve any Daubert inquiry in Monsanto’s

20
     41
        In re Hanford reaffirmed the doubling of the risk requirement in cases like this where there is no
21   definitive evidence that the exposure at issue is capable of causing disease and plaintiffs’ experts
     accordingly must rely on epidemiology to establish causation, 292 F.3d at 1135-37, while rejecting
22   the requirement in cases where there is a scientific consensus that the exposure can cause the
     disease at issue. Id. at 1137. In re Bextra raised but did not rule on the issue because the doubling
23   argument was put forth only as to specific causation, which was not before the court (and plaintiffs
     in any event relied upon a large randomized clinical trial that reported statistically significant risk
24   ratios of 2.6 and 3.4). See 524 F. Supp. 2d at 1181, 1183.
     42
        See Portier Dep. 163:7-23 (rodent models “are not developed for the purpose of identifying
25   tumors that arise in humans from exposure to chemicals”); id. 158:14-159:16 (“it has always been
     a challenge to extrapolate from effects observed in experimental animal bioassays to potential
26   effects in humans in order to protect humans from potentially harmful chemical exposures”); Dep.
     of Charles Jameson 28:10-15 (Sept. 21, 2017), ECF No. 546-6 (“Jameson Expert Dep.”) (“[T]he
27   purpose of doing an animal bioassay study is to determine if the chemical can cause cancer in the
     experimental animals. And it’s not – not looking to investigate does it form a specific kind of
28                                             25
      MONSANTO’S REPLY MEM. ISO ITS DAUBERT & SUMM. J. MTN. RE GENERAL CAUSATION AND OPP.
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 1   favor. Mtn. at 23-24.43 Plaintiffs’ failed attempts to explain away the numerous methodological

 2   flaws in their experts’ opinions also require the same result.

 3          A. Despite Plaintiffs’ Specific Efforts to Buttress the Admissibility of Dr. Portier’s
               Testimony, They Still Fail to Meet Daubert’s Standards.
 4

 5          Dr. Portier’s opinions must be excluded because they are nothing more than a series of

 6   made-for-litigation assertions employing whatever methodology – no matter how untested or novel

 7   – supports the outcome Dr. Portier pre-determined he would reach. Mtn. at 24-29. Plaintiffs do not

 8   dispute, for example, that Dr. Portier’s statistical machinations ignore data that does not support his

 9   desired result, Mtn. at 24, 26-27, continually reinterpret the same data using methods that differed

10   from the study protocols dictated by the original study investigators, Mtn. at 24-25, and are instead

11   designed to ensure statistical significance, despite criticisms published by regulators, scientific

12   panels (such as several members of the Scientific Advisory Panel (“SAP”) upon which plaintiffs so

13   heavily rely and misrepresent as endorsing Dr. Portier’s opinions here, Opp. at 53),44 and

14   independent scientists worldwide.45 Finally, plaintiffs claim Dr. Portier followed various EPA

15

16   tumor that is the same as found in humans.”); id. 9:3-6 (“[T]he fact that something causes a kidney
     tumor in a mouse, I don’t know what that says about causing non-Hodgkin’s lymphoma in
17   humans.”); id. 23:24-24:3 (“I don’t know that anybody has done an investigation to see – to see if
     there is a correlation between the formation of hemangiosarcomas in laboratory animals and non-
18   Hodgkin's lymphoma in humans.”); see also Mtn. at 30 n.48 (citing additional examples).
     43
        Plaintiffs concede that none of their experts other than Drs. Portier and Jameson are qualified to
19   discuss the rodent carcinogenicity data. Opp. at 46 (stating that two “highly qualified experts …
     reviewed the animal data” on their behalf). Monsanto’s motion to exclude the other experts’
20   toxicology opinions must therefore be granted. Mtn. at 22.
     44
21      See EPA, FIFRA Scientific Advisory Panel (SAP) Open Meeting Tr. 998:16-1000:2, EPA-HQ-
     OPP-2016-0385 (Dec. 13-16, 2016), https://www.epa.gov/sites/production/files/2017-
22   02/documents/glyphosate_transcript.pdf (Dr. Ken Portier describing need for proper consideration
     of false-positives); id. 1006:13-18 (Dr. Crump criticizing pooling of results across sexes and
23   species); id. 1018:12-19 (Dr. Sheppard acknowledging that false positives arise when doing
     multiple statistical tests with many different tumors).
     45
24      See, e.g., J. Tarazona et al., Response to the Reply by C.J. Portier and P. Clausing Concerning
     Our Review “Glyphosate and Carcinogenicity: A Review of the Scientific Basis of the European
25   Union Assessment and its Differences with IARC,” 91 Archives of Toxicology 3199, 3201-3202
     (2017) (“Tarazona 2017”) (discussing variety of factors to be considered in analyzing rodent
26   carcinogenicity data and noting Dr. Portier’s analysis of the glyphosate data does not do so); G.
     Kabat, IARC’s Glyphosate-gate Scandal, Forbes (Oct. 23, 2017), https://www.forbes.com/sites/
27   geoffreykabat/2017/10/23/iarcs-glyphosate-gate-scandal/#4996ec931abd (criticizing IARC’s
     review and discussing Dr. Portier’s IARC involvement).
28                                             26
      MONSANTO’S REPLY MEM. ISO ITS DAUBERT & SUMM. J. MTN. RE GENERAL CAUSATION AND OPP.
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 1   guidelines, Opp. at 51-52, but omit any discussion of why his interpretation of the data differs so

 2   significantly from EPA’s, yet another sign that Dr. Portier’s only “methodology” is to change

 3   applicable criteria however necessary to get the result he wants. Mtn. at 24-29.46

 4          Plaintiffs attempt to attribute Dr. Portier’s spinning wheel of statistical opinions to the

 5   timing of his access to data from the three Monsanto rodent bioassays. Opp. at 53. This argument

 6   is absurd. A peer-reviewed article published in 2015 included all of the tumor incidence data from

 7   the Monsanto studies. Infra at 38 n.68. The idea that Dr. Portier would wait two years to review

 8   that data strains credulity and, if true, raises a variety of additional questions about the methods he

 9   used in gathering and evaluating the data on which his opinions are based. The changes in his

10   opinions that have occurred over time have had nothing to do with the tumor counts in the

11   Monsanto studies. Instead, they track his results-oriented statistical test selection, his willingness

12   to change statistical endpoints years after the study to better support his opinions, and the selective

13   inclusion or exclusion of non-Monsanto studies in his unproven pooling analysis in order to

14   manufacture statistically significant results. Mtn. at 24-29.

15          In his expert report, Dr. Portier claimed that his pooling methodology was novel, yet at his

16   deposition, Dr. Portier claimed without citation that his pooling methodology had appeared in the

17   peer-reviewed literature. Mtn. at 26. Plaintiffs’ opposition belatedly identifies the articles Dr.

18   Portier purportedly relies upon, Opp. at 53-54, but plaintiffs fail to even attempt to carry their
19   burden to explain how those articles, which involve the pooled presentation of results within

20   individual studies,47 reliably ground Dr. Portier’s methodology of pooling results across different

21   studies with “considerable genetic variability.” Mtn. at 26 (citing Portier Amended Report at 51).

22
     46
23      Nor did plaintiffs identify any published support for using historical controls to generate Dr.
     Portier’s novel “p-hist” values. See Mtn. at 27-28. That EPA guidelines suggest that analysis of
24   non-statistically significant uncommon tumors may be informed by the experience of historical
     controls, see EPA, Guidelines for Carcinogen Risk Assesment (Mar. 2005),
25   https://www3.epa.gov/airtoxics/cancer_guidelines_final_3-25-05.pdf, is a far cry from using
     historical control values, as Dr. Portier has done here, to run novel statistical tests.
     47
26      See, e.g., M. Dourson et al., Mode of Action Analysis for Liver Tumors from Oral 1,4-Dioxane
     Exposures and Evidence-Based Dose Response Assessment, 68 Reg. Toxicology & Pharm. 387,
27   391, 395 (2014), ECF No. 655-15 (discussing re-evaluation of a single 1978 rodent study and
     graphical representation of pooled incidence of certain endpoints).
28                                             27
      MONSANTO’S REPLY MEM. ISO ITS DAUBERT & SUMM. J. MTN. RE GENERAL CAUSATION AND OPP.
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 1   For example, plaintiffs have no response or justification for Dr. Portier’s choice to include three

 2   studies in rats (Brammer, Suresh, and Wood) in his pooled analysis for skin tumors, but then

 3   exclude one of those studies (Suresh) in his pooling analysis of two other tumor types. Mtn. at 27.

 4   Monsanto’s motion must therefore be granted.48

 5          In response to methodological flaws identified by Monsanto, Mtn. at 21-29, plaintiffs claim

 6   that Dr. Portier conducted a false-positive analysis via his modified Table 15. Opp. at 55. This

 7   assertion is contradicted by Dr. Portier’s own testimony in which he explained that the Table’s

 8   reported “expected” number of tumors – from which he derives his opinion that it is “extremely

 9   unlikely” the tumors in the rodent studies arose by chance – is nothing more than an

10   “approximation” because he “cannot figure that number out.” Portier Dep. 317:10-318:6. Dr.

11   Portier does not provide any scientific methodology as to how he arrived at even his approximation

12   – he just said “I feel I’ve probably put a number in here which is more than the number of

13   evaluations which were actually done.” Portier Dep. 308:7-23. Dr. Portier’s unsubstantiated

14   feelings cannot pass Daubert muster, and his “false-positive” analysis in Table 15 as well as the

15   array of toxicology opinions that the analysis supposedly supports should be excluded. See Friend

16   v. Time Mfg. Co., 422 F. Supp. 2d 1079, 1081 (D. Ariz. 2005) (noting it is appropriate to exclude

17   expert testimony when “it is based on subjective beliefs or unsupported speculation which is no

18   more than unreliable ipse dixit guesswork.”) (citations omitted).
19          Finally, plaintiffs’ claims that Dr. Portier’s methodology appropriately included

20   consideration of factors (such as the use of historical controls) present a misleading picture of what

21   Dr. Portier actually did. From the large body of historical control data available, Dr. Portier cherry-

22   picked only the data that might support his opinion when plugged into his novel “p-hist” analysis.

23   Both the decision to ignore unhelpful data and to use his own made-for-litigation analyses are

24   methodological flaws that ensured his “test” would gin up the desired result. Mtn. at 27-28. Such

25
     48
       See Bolbol v. City of Daly City, 754 F. Supp. 2d 1095, 1115 (N.D. Cal. 2010) (“[P]laintiff fails to
26   address this issue in her opposition brief and apparently concedes that she may not proceed on this
     claim. Accordingly, the court grants summary judgment in favor of defendants as to this claim.”);
27   see also In re Zimmer NexGen Knee Implant Prod. Liab. Litig., 218 F. Supp. 3d 700, 718 (N.D. Ill.
     2016) (same); Wick v. Wabash Holding Corp., 801 F. Supp. 2d 93, 105 (W.D.N.Y. 2010) (same).
28                                             28
      MONSANTO’S REPLY MEM. ISO ITS DAUBERT & SUMM. J. MTN. RE GENERAL CAUSATION AND OPP.
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 1   methodological hijinks cannot withstand scrutiny under Daubert. Id.

 2          B. No Matter How Plaintiffs Describe It, Dr. Jameson’s Methodology Fails To Satisfy
               Daubert.
 3

 4          Plaintiffs’ claims that Dr. Jameson’s hazard assessment, which he referenced at least 43

 5   times during his deposition, Mtn. at 4, must be admitted, Opp. at 57, and that his “weight of the

 6   evidence” approach must be adopted by this Court, Opp. at 56, are based on erroneous legal

 7   standards that must be rejected. See supra at 3-5, infra at 36.49

 8          Plaintiffs claim that Dr. Jameson’s methodology “is designed to answer” the question of

 9   whether glyphosate can cause NHL in humans. Opp. at 57. They admit that the methodology he

10   employed is only designed to evaluate carcinogenicity in animals, but then claim without

11   identifying any scientific support other than Dr. Jameson’s own ipse dixit that “one can usually rely

12   on the fact that a compound causing an effect in one mammalian species will cause it in another

13   species.” Id. Even assuming that plaintiffs’ claims of “usual reliance” were true (which they are

14   not), their argument ignores that when questioned specifically about the studies at issue here, Dr.

15   Jameson could not support such an analytic leap from the glyphosate rodent data to the question of

16   causation of NHL in humans. Mtn. at 30 n.48. Without that link, his testimony has no scientific

17   “fit” and cannot advance any issue in this case. Id. at 58.

18          In a last ditch effort to support the admissibility of Dr. Jameson’s opinions as consistent
19   with his pre-litigation methodology, Mtn. at 30-31, plaintiffs claim that the rodent studies show

20   “replicated findings of malignant lymphomas in mice,” id. at 46, ignoring Dr. Jameson’s

21   concessions that mice generally have a “high spontaneous incidence” of malignant lymphoma and

22   that he is aware of scientific literature objecting to the use of mice as a model for evaluating

23

24
     49
        Plaintiffs, without citation, claim that Monsanto criticized Dr. Jameson for not conducting a risk
25   assessment. Although Monsanto did not do so, plaintiffs’ explanation highlights why a hazard
     assessment is simply not enough to address the general causation question here. Risk assessments,
26   according to Dr. Jameson, include an assessment of dose, whereas hazard assessments do not.
     Opp. at 57 (citing Jameson Expert Dep.). Dose and exposure levels are essential components of
27   the general causation inquiry, supra at 5-6, and any analysis that does not include that assessment
     is inadmissible.
28                                             29
      MONSANTO’S REPLY MEM. ISO ITS DAUBERT & SUMM. J. MTN. RE GENERAL CAUSATION AND OPP.
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 1   whether a chemical can cause lymphoma precisely “because of the high background level.”50

 2   They also ignore Dr. Jameson’s admission that his methodology depends upon his unsupported

 3   belief that disregarding the rate of spontaneous tumors is appropriate, Jameson Expert Dep.

 4   146:12-14 (“[J]ust because something occurs because of a spontaneous rate is no reason to

 5   discount it from being an effect in a carcinogenicity study.”).51

 6           There is no dispute that animals used in rodent bioassays have high rates of spontaneous

 7   tumors, including lymphoma, meaning that tumors are observed in every study even absent

 8   compound-related effects. See Jameson Expert Dep. 133:17-134:8; id. 146:2-11. The issue here is

 9   not whether tumors were observed; it is whether plaintiffs’ experts employed a scientific

10   methodology to support their speculation that those tumors were glyphosate-related, an assumption

11   that cannot be made on tumor presence alone. From his own testimony it is clear that Dr. Jameson

12   has failed to rule out spontaneous tumors as the cause of the rodent study results on which he relies.

13   Further, he applies the wrong methodology in assessing causality both of the animal tumors

14   themselves and their biological relevance to humans. As such, his opinions must be excluded.

15   Mtn. at 29-31.

16        C. Plaintiffs’ Other Arguments for Admissibility Are Equally Meritless.

17           Plaintiffs nevertheless claim that their experts’ opinions must be admitted because they are

18   part of the evaluation of the data by the Bradford Hill criteria. Opp. at 48, 50, 58. Invoking the
19   term “Bradford Hill” does not allow plaintiffs to escape the plain result of their experts’ testimony,

20   which proves their opinions are grounded in speculation, not science. See Joiner, 522 U.S. at 146

21   (rejecting causation opinion based on animal studies that plaintiffs’ experts could not reliably

22   extrapolate to humans); O’Hanlon v. Matrixx Initiatives, No. CV 04-10391, 2007 WL 2446496, at

23   *2 (C.D. Cal. Jan. 3, 2007) (“[W]hen extrapolating from studies concerning one substance, one

24
     50
25      Mtn. at 23 (citing Jameson Expert Dep. 29:13-30:5, 133:17-134:8); Jameson Expert Dep.
     146:12-14 (type of mice used in two of three studies have among the highest reported rates of
26   spontaneous lymphoma); see also Rosol Dep. 301:14-18 (increased incidence of lymphoma in
     mice is well-known).
     51
27      Plaintiffs also have no answer for Dr. Jameson’s departure from his published pre-litigation
     methodology cautioning against using statistics inflexibly as he does here. Mtn. at 31 n.51.
28                                             30
      MONSANTO’S REPLY MEM. ISO ITS DAUBERT & SUMM. J. MTN. RE GENERAL CAUSATION AND OPP.
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 1   species, one dose level or one manner of exposure, it is incumbent upon the expert to explain and

 2   demonstrate why the extrapolation is scientifically proper. … [P]ositive results in other animal

 3   studies, standing alone, cannot establish positive results for the human claiming the same impact

 4   from the drug or chemical element.”); see also Mtn. at 24 n.34 (providing additional citations);

 5   supra at 22-23 (predicate requirements for use of Bradford Hill).52

 6          Plaintiffs’ claims that the testimony of Drs. Portier and Jameson satisfies Daubert’s fit

 7   requirement fail. Expert testimony which is not the product of a reliable scientific process does not

 8   become admissible simply because plaintiffs believe it “enhances causation.” See Daubert II, 43

 9   F.3d at 1315-16 (“something doesn’t become ‘scientific knowledge’ just because it’s uttered by a

10   scientist; nor can an expert’s self-serving assertion that his conclusions were ‘derived by the

11   scientific method’ be deemed conclusive”). The determination that testimony is “relevant to the

12   task at hand” and “logically advances a material aspect” of the proponent’s case only happens if the

13   testimony itself is scientifically reliable. Id. at 1315 (“fit” requirement is “second prong of the

14   analysis”).

15          Finally, plaintiffs claim that the similar conclusions of a few members of a non-binding

16   EPA SAP confer “acceptance within the relevant scientific field” on the methodology of both

17   experts. Opp. at 48. This is a gross misstatement of both the law and the facts. See infra at 26

18   n.44 (discussing SAP members’ rejection of Dr. Portier’s flawed statistical analyses). The
19   admissibility under Daubert of any opinion based on a putative scientific methodology, such as Dr.

20   Portier’s ever-changing statistical analyses or Dr. Jameson’s “extrapolation without evidence”

21   approach, is not established by the alleged agreement of a handful of people as to a set or sub-set

22
     52
23      Plaintiffs blatantly mischaracterize the testimony of Dr. Rosol in an effort to buttress their own
     experts’ opinions. Opp. at 49. Far from agreeing that a finding of a compound-related tumor in an
24   animal can be extrapolated to humans as plaintiffs claim, Dr. Rosol testified that such findings in
     rodent studies are the first, but by no means last, step in assessing human relevance. Dep. of
25   Thomas Rosol 324:8-325:15 (Sept. 15, 2017), ECF No. 655-7 (“Rosol Dep.”). The scientific
     propriety of extrapolating rodent findings to humans requires research support beyond the rodent
26   bioassay itself. See supra at 30-31 (citing Joiner and O’Hanlon). Even assuming their
     interpretations of the animal data were correct – which they are not – plaintiffs’ experts concede no
27   such support exists here with regard to glyphosate and NHL in humans. See supra at 25 n.42; Mtn.
     at 21-24.
28                                             31
      MONSANTO’S REPLY MEM. ISO ITS DAUBERT & SUMM. J. MTN. RE GENERAL CAUSATION AND OPP.
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 1   of conclusions, especially where it has not been established that those individuals have expertise in

 2   animal toxicology, employed the same methodologies as the experts, or would agree with the

 3   experts’ proposed use of a particular shared conclusion. Nor is the agreement germane – the

 4   opinions are inadmissible where the expert’s conclusion is derived using a different methodology

 5   that would not pass Daubert scrutiny to begin with.53

 6   IV.     PLAINTIFFS’ EXPERTS’ OPINIONS REGARDING MECHANISTIC DATA ARE
             INADMISSIBLE.
 7

 8           Plaintiffs’ opposition brief fails to meaningfully respond to the key arguments raised by

 9   Monsanto regarding the mechanistic data’s failure to satisfy the “fit” requirement of Daubert. Mtn.

10   at 31-35. For example, plaintiffs do not dispute the discrete objectives of the experiments or the

11   fact that genotoxicity does not equate to carcinogenicity, Mtn. at 33, and they concede that

12   mechanistic data alone cannot prove causation. Opp. at 58 (“mechanistic data are probative ...

13   where [there is] epidemiology ...”).54 Given these concessions and because their interpretations of

14   the epidemiologic data are not based upon any reliable scientific method, Monsanto’s Motion must

15   be granted and this Court need not address the details of the mechanistic data. Mtn. at 33.55

16   53
        Mtn. at 3 (citing case law that even formal regulatory findings are not dispositive of the Daubert
17   inquiry); Monsanto Co.’s Br. re Relevance of IARC and EPA to Gen. Causation at 3-7, ECF No.
     134 (discussing differences between regulatory and Daubert standards).
     54
18      Plaintiffs’ experts concede that cell change due to both genotoxicity and oxidative stress occurs
     and is repaired naturally on a daily basis, precluding reliance on genotoxicity studies, including
19   human in vivo studies, to establish causation. Mtn. at 32 n.54 (citing concessions in depositions of
     Drs. Weisenburger and Portier). Nor do plaintiffs challenge that “explicit relationships” between
20   oxidative stress and adverse outcomes in the human body “have yet to be defined,” Mtn. at 31
     (citing EPA), precluding reliance on oxidative stress to prove carcinogenicity.
21   55
        Monsanto also moved to exclude the opinions of Drs. Neugut, Weisenburger, Nabhan, Jameson,
     Ritz, and Blair regarding the mechanistic data based on their lack of qualifications to offer such
22   opinions. Mtn. at 32 n.53. Plaintiffs do not address this argument, and Monsanto’s motion as to
     those five experts must be granted. Plaintiffs do rely on statements by non-retained expert, Dr.
23   Ross, to establish the “importance” of the human in vivo studies. Opp. at 59. These statements,
     which refer to IARC’s conclusion regarding the mechanistic data, came after Dr. Ross testified that
24   he “did not review the genotox” data and that he “was so focused on toxicokinetics [data]” that he
     doesn’t “know the specific details” about the studies, such as whether they controlled for exposures
25   to pesticides and other chemicals. See Dep. of Matthew Ross 58:22-59:1, 197:25-198:9 (May 3,
     2017), ECF No. 546-15 (“Ross Dep.”). Plaintiffs’ reliance on Dr. Ross’s descriptions of the
26   opinions of others, but which he does not hold and does not have a basis to evaluate, is improper.
     See Villagomes v. Lab. Corp. of Am., No. 2:08-CV-00387, 2010 WL 4628085, at *4-5 (D. Nev.
27   Nov. 8, 2010) (excluding testimony of expert who was not qualified to opine on significance of
     relevant issue but would “simply be parroting or serving as a spokesman” for another’s opinion);
28                                             32
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 1          Plaintiffs’ arguments regarding the mechanistic data also fail for other reasons. First,

 2   plaintiffs concede that their experts’ opinions are based primarily on two methodologically

 3   unsound human in vivo studies (Paz-y-Mino 2007 and Bolognesi 2009).56 Opp. at 58-59.57 As

 4   detailed in Monsanto’s Motion, the significant methodological flaws in these studies render any

 5   opinion based on them unreliable and inadmissible under Daubert as well. Mtn. at 35 n.65, 36

 6   n.66-68. Plaintiffs’ Opposition offers no basis under Daubert to support the admissibility of these

 7   studies. For example, in response to Monsanto’s arguments regarding Bolognesi 2009, Mtn. at 35

 8   n.65, plaintiffs cite two post-study statements by one of the study’s authors about one piece of data

 9   that was deemed of low relevance in the study itself.58 Plaintiffs’ argument misses the point – the

10

11   Dura Auto Sys. of Ind., Inc. v. CTS Corp., 285 F.3d 609, 614 (7th Cir. 2002) (“A scientist, however
     well credentialed he may be, is not permitted to be the mouthpiece of a scientist in a different
12   specialty. That would not be responsible science.”).
     56
13      C. Paz-y-Mino et al., Evaluation of DNA Damage in an Ecuadorian Population Exposed to
     Glyphosate, 30 Genetics & Molecular Biology 456 (2007) (“Paz-y-Mino 2007”); C. Bolognesi et
14   al., Biomonitoring of Genotoxic Risk in Agricultural Workers from Five Columbian Regions:
     Association to Occupational Exposure to Glyphosate, 72 J. Toxicology Envtl. Health, Part A 986
15   (2009) (“Bolognesi 2009”).
     57
        Plaintiffs claim that these studies somehow establish that the “opinions extrapolating the results
16   of other genotoxicity experiments to humans are substantiated.” Opp. at 58. That argument is
     wrong on multiple levels. As discussed earlier, supra at 3-5, each piece of scientific evidence must
17   be evaluated individually to determine whether a proper methodology was utilized. As noted in
     Monsanto’s Motion, numerous deficiencies prevent such a conclusion here. E.g., Mtn. at 34-35
18   (plaintiffs rely on studies in which rodents were exposed to glyphosate directly by intraperitoneal
     (“IP”) injection at doses thousands of times higher than real-world human exposures). Further,
19   plaintiffs cite no authority – and there is none – allowing the court to conclude that if these two
     studies were the product of reliable methodologies, which they are not, then reliability is somehow
20   established for other studies. See generally Amorgianos v. Nat’l R.R. Passenger Corp., 303 F.3d
     256, 267, 270 (2d Cir. 2002) (in deciding whether an expert’s opinion is reliable, “the district court
21   should undertake a rigorous examination” of “all of the materials” on which the expert relies).
     And “assumptions” of reliability are particularly unsupported here, where the “other studies” to
22   which plaintiffs refer include many conducted on cells from plants, fish, or other non-human
     subjects, were conducted in vitro, which is a different and dissimilar test system, and did not use
23   the same or even similar test protocols or methods. For example, Drs. Portier, Jameson, Nabhan,
     Ritz, and Weisenburger rely on M. Lioi et al., Genotoxicity and Oxidative Stress Induced by
24   Pesticide Exposure in Bovine Lymphocyte Cultures In Vitro, 403 Mutation Res. 13 (1998), a study
     that reported glyphosate-induced genotoxicity based on tests conducted with blood cells “drawn
25   from the jugular vein” of three cows. See id. at 14.
     58
        Plaintiffs completely ignore that all five study authors acknowledged the study’s limitations in
26   the publication itself, instead extracting select statements from Claudia Bolognesi’s subsequent
     publications in which she reported “significant increases in MN frequency.” Opp. at 60 n.172.
27   That increases in one measure of chromosomal damage were reported does not mean that that
     damage can be reliably attributed to GBHs; instead, as the authors cautioned, the “smaller number
28                                             33
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 1   Daubert inquiry is whether a study’s findings are the product of a methodology that withstands

 2   scientific scrutiny, not whether plaintiffs’ expert accurately quotes cherry-picked text extracted

 3   from the paper.

 4          Further, Dr. Portier failed to reconcile his opinion that the study’s findings “must carry the

 5   greatest weight,” Am. Expert Report of Christopher Portier at 67, ECF No. 546-8 (“Portier

 6   Amended Report”), with the study authors’ conclusion that “[o]verall, these results suggest that

 7   genotoxic damage associated with glyphosate spraying … is small and appears to be transient …

 8   [and] the genotoxic risk potentially associated with exposure to glyphosate … is of low biological

 9   relevance,” Bolognesi 2009 at 994-995.59 Nor did Dr. Portier address the study’s methodological

10   shortcomings, including those identified by the study’s authors in the body of the study.60 And

11   although Dr. Portier claims that the genotoxic potential of GBHs is “worse” than glyphosate alone,

12   see Portier Amended Report at 70, he concedes that the GBH mutation tests are consistently

13   negative. Portier Dep. 347:10-20. His methodological failures require exclusion of his opinions

14   regarding the mechanistic data.61

15

16   of subjects recruited in this study and small amount of information about the exposure precluded
     any conclusions.” See Bolognesi 2009 at 995.
17   59
        See In re Accutane Prod. Liab. Litig., No. 8:04-MD-2523-T-30, 2009 WL 2496444, at *2 (M.D.
18   Fla. Aug. 11, 2009) (“When an expert relies on the studies of others, he must not exceed the
     limitations the authors themselves place on the study.”), aff’d, 378 F. App’x 929 (11th Cir. 2010);
19   Williams v. Mosaic Fertilizer, LLC, No. 8:14-CV-1748-T-35, 2016 WL 7175657, at *11 (M.D. Fla.
     June 24, 2016) (excluding expert who relied on data from studies to “reach conclusions that are at
20   odds with the authors’ conclusions”); Henricksen v. ConocoPhillips Co., 605 F. Supp. 2d 1142,
     1169 (E.D. Wash. 2009) (“Nothing in Daubert or the Federal Rules of Evidence requires a district
21   court to admit opinion evidence that is connected to existing data only by the ipse dixit of the
     expert.”) (citation omitted).
     60
22      See R. Arnason, Toxicologist Pans UN Glyphosate Report, The Western Producer (Mar. 27,
     2015), http://www.producer.com/daily/toxicologist-pans-un-glyphosate-report/ (co-author Dr.
23   Solomon stating that IARC’s misinterpretation of the study as showing a relationship between
     GBHs and genotoxicity is “certainly a different conclusion than the one we [the authors] came to”);
24   Bolognesi 2009 at 995 (“Although temporality was satisfied in the increase in frequency of BNMN
     after spraying, this response did not show strength as it was not consistently correlated with the rate
25   of application. Recovery was also inconsistent with decreases in frequency of BNMN in the areas
     of eradication spraying but not in the area where lower rates were applied on sugar cane .... The
26   smaller number of subjects recruited in this study and small amount of information about the
     exposure precluded any conclusions ….”).
27   61
        See U.S. v. Lester, 234 F. Supp. 2d 595, 600 (E.D. Va. 2002) (“[Expert] was required to show
     his work, so to speak, and he did not. In the absence of any evidence respecting the scientific
28                                             34
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 1          Similarly, plaintiffs’ claim that Dr. Goodman conceded his methodological criticisms of

 2   Paz-y-Mino 2007 are “speculative,” Opp. at 59, misconstrues the scientific issue before the Court.

 3   By failing to provide adequate information, the authors required any reader to speculate about the

 4   reliability of the study’s methodology. Where such speculation is required, reliability of the

 5   methodology cannot be assumed as a matter of sound science. Dep. of Jay Goodman 225:3-18

 6   (Sept. 22, 2017) (“Goodman Dep.”).62 Under Daubert, studies that omit key details necessary to

 7   evaluate their methodologies are unreliable and must be excluded.63

 8          Plaintiffs also erroneously claim that the publication of both studies means the Daubert

 9   inquiry is satisfied as to their admissibility. Opp. at 58. Instead, “[p]eer review and publication

10

11   foundation for his opinions, the Court cannot conclude that [expert’s] proffered testimony is
     scientifically reliable.”); Abold v. City of Black Hawk, No. Civ.03-CV-00299, 2005 WL 5807816,
12   at *11 (D. Colo. July 18, 2005) (“[Expert’s] conclusions and the information available in this case
     is speculative, tenuous at best, and severely lacking in sufficient support ... . As a result, [expert’s]
13   opinion ... is unreliable under Fed. R. Evid. 702 and Daubert ...”).
     62
14      Dr. Goodman testified that the Paz-y-Mino 2007 authors used a test method that involves some
     “subjectivity,” Goodman Dep. 222:21-224:14, but did not implement measures to prevent that
15   possibility from improperly influencing the results. See Paz-y-Mino 2007 at 458 (noting samples
     from “exposed” and “unexposed” groups were not evaluated simultaneously); Goodman Dep.
16   224:15-225:2. Similarly, plaintiffs claim that the authors’ failure to assess how the study subjects’
     poor health, see Expert Report of Jay Goodman at 12, ECF No. 649-8 (“Goodman Report”); Paz-
17   y-Mino 2007 at 457 (describing clinical history of exposed individuals), may have contributed to
     the perceived genotoxic effects reported runs contrary to the scientific rigor required by Daubert.
18   Plaintiffs go one step further, declaring Dr. Goodman’s testimony that the subjects’ poor health
     may in fact be the sole cause of the effects observed is “speculative” because, according to them,
19   the symptoms described in the article are consistent with acute glyphosate poisoning. Opp. at 63
     n.179. But nowhere in Paz-y-Mino 2007 do the study authors attribute these symptoms to
20   glyphosate poisoning. Nor do the authors, who describe the study subjects as “24 randomly
     selected individuals” living near an area “where aerial spraying with a glyphosate-based herbicide”
21   had occurred, claim that the subjects exhibited similar clinical signs as individuals intentionally
     drinking glyphosate in attempt to commit suicide. See Paz-y-Mino 2007 at 457. With no way to
22   ascertain what caused the study subjects’ illnesses or how their condition affected the DNA
     damage observed based upon the information in the paper, that damage cannot be reliably
23   attributed to glyphosate.
     63
        See King ex rel. King v. Sec’y of HHS, No. 03-584V, 2010 WL 892296, at *67 (Fed. Cl. Mar. 12,
24   2010) (studies that had “analytical methods [that] were ‘not transparent’ and omitted ‘important
     details’” making it “impossible to evaluate the studies” were “not reliable, and [could not] be
25   accorded any weight.”) (quotation marks omitted); Brantley v. Int’l Paper Co., No. CV 2:09-230,
     2017 WL 2292767, at *6 (M.D. Ala. May 24, 2017) (“While experts are not required to rule out
26   every alternative cause, [expert’s] failure to account for alternative causes … in this instance
     substantially impairs his already questionable theory .... The excessive number of variables in this
27   study, combined with the apparent margin of error render the study totally unreliable.”) (granting
     summary judgment for defendant).
28                                             35
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 1   mean little” if a study is based on unreliable methodology.64 As proponents of the scientific

 2   evidence at issue, it is plaintiffs’ burden to prove that opinions based on the studies are admissible

 3   under Daubert, meaning that they are “grounded in the methods and procedures of science,” not

 4   “subjective belief or unsupported speculation.” Mtn. at 7 (citing Daubert). Plaintiffs are unable to

 5   do so here. This outcome is not surprising given the studies’ limited experimental purposes and

 6   many methodological flaws, because of which both have been deemed “low quality” by EPA and

 7   excluded from the agency’s 2016 evaluation of glyphosate’s carcinogenic potential.65 “[T]here is

 8   simply too great an analytical gap between the data” presented in the human in vivo studies “and

 9   the opinion proffered,” i.e., that GBHs are genotoxic (and therefore cause NHL in humans). See

10   Joiner, 522 U.S. at 146.66

11   V.     TO AVOID ADDRESSING THE DEFICIENCIES IN THEIR EXPERTS’ OPINIONS
            RAISED BY MONSANTO, PLAINTIFFS SEEK TO SHIFT THE FOCUS TO NON-
12          DAUBERT ISSUES.

13          Lacking any legitimate basis for their proffered opinions, plaintiffs spend numerous pages

14   of their brief trying to prop up IARC’s credibility, making spurious claims that Monsanto’s

15   scientists “ghostwrote” various articles, and providing other distractions that have nothing to do

16   with the reliability of their proffered testimony. These arguments are irrelevant to the Daubert

17   inquiry and do not cure the deficiencies of their proffered testimony.

18
19   64
        In re Viagra Prod. Liab. Litig., 658 F. Supp. 2d 936, 944-45 (D. Minn. 2009) (excluding
     expert’s opinion based on unreliable published study as “lack[ing] sufficient indicia of reliability to
20   be admitted as a general causation opinion”); Daubert, 509 U.S. at 593 (1993) (“Publication ... is
     not a sine qua non of admissibility; it does not necessarily correlate with reliability ... .”); Black v.
21   Rhone-Poulenc, Inc., 19 F. Supp. 2d 592, 600 (S.D.W. Va. 1998) (“[M]ere publication of an article
     is not the end of the peer review process; it is but the beginning.”).
22   65
        EPA Office of Pesticide Programs, Glyphosate Issue Paper: Evaluation of Carcinogenic
23   Potential at 196 (Sept. 12, 2016), https://www.regulations.gov/document?D=EPA-HQ-OPP-2016-
     0385-0094.
     66
24      It is telling that although plaintiffs repeatedly refer to the SAP report as an authoritative
     evaluation of the glyphosate epidemiology and animal data, Opp. at 10, 48, 51, 53, they conceal
25   from the Court that the SAP concluded “that [EPA’s] overall weight-of-evidence and conclusion
     that there is no convincing evidence that glyphosate induces mutations in vivo via the oral route
26   are sound.” EPA, FIFRA Scientific Advisory Panel, Meeting Minutes and Final Report No. 2017-
     01, A Set of Scientific Issues Being Considered by the Environmental Protection Agency
27   Regarding: EPA’s Evaluation of the Carcinogenic Potential of Glyphosate, Dec. 13-16, 2016 at
     19, ECF. No. 648-10 (emphasis added).
28                                             36
      MONSANTO’S REPLY MEM. ISO ITS DAUBERT & SUMM. J. MTN. RE GENERAL CAUSATION AND OPP.
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 1          First, plaintiffs’ attempt to buttress the credibility of IARC’s hazard assessment is

 2   meaningless. Opp. at 6, 7, 9-10, 17, 29, 34, 56-57. Although a subject of intense disagreement

 3   between the parties, the credibility of IARC is not a component of the Daubert inquiry. Plaintiffs’

 4   experts’ methodologies are. Plaintiffs do not dispute that a hazard assessment methodology such as

 5   IARC’s – which does not take into account dose or human relevance – is insufficient to satisfy

 6   Daubert because it applies a “threshold of proof” that is “lower than that appropriate in tort law.”

 7   Johnson v. Arkema, Inc., 685 F.3d 452, 464 (5th Cir. 2012) (emphasis in original) (quoting Allen v.

 8   Pa. Eng’g Corp., 102 F.3d 194, 198 (5th Cir. 1996)). Plaintiffs also do not dispute that Drs.

 9   Neugut, Jameson, and Nabhan employed only such a hazard assessment methodology. Thus, no

10   matter how credible IARC is (or is not) in making a hazard assessment, these experts’ opinions do

11   not rise to the level of admissible evidence. Mtn. at 3-4.

12          Plaintiffs’ efforts to discredit all regulatory agencies who disagree with IARC even though

13   those agencies apply scientific standards far more stringent and reliable than IARC’s is equally

14   irrelevant. Opp. at 10-11. Remarkably, plaintiffs would have the Court give more credence to

15   non-scientific statements by a few members of the European Parliament who have joined

16   plaintiffs’ counsel in lobbying efforts, than to the European regulators that painstakingly reviewed

17   the science and found no cancer link. See, e.g., Ltr. from Six Members of the European Parliament

18   (July 4, 2017), ECF No. 385 (“European Parliament Letter”); Monsanto Papers: Proof of Scientific
19   Falsification, YouTube (Sept. 27, 2017), https://www.youtube.com/watch?v

20   =1_s18Qetabo (“Monsanto Papers Press Conference”) (press conference held by Kathryn Forgie of

21   the Andrus Wagstaff firm and MEP Michèle Rivasi).67

22   67
       Plaintiffs also attempt to mislead the Court about certain regulatory reviews. For example, they
     claim that California “reviewed the IARC classification” and “concluded that glyphosate is a
23   substance known to the state of California to cause cancer.” Opp. at 9-10. Proposition 65, a
     California ballot initiative, requires that substances classified by IARC as group 2A automatically
24   be listed as carcinogens without any further scientific analysis of whether IARC’s conclusion is
     grounded in sound science. Cal. Labor Code § 6382(b) (providing for automatic listing of
25   substances classified by IARC); Cal. Code Regs. tit. 27, § 25904(c) (“Comment is restricted to
     whether the identification of the chemical or substance meets the requirements of this section. The
26   lead agency shall not consider comments related to the underlying scientific basis for classification
     of a chemical by IARC as causing cancer.”). The California EPA reviewed the actual science in
27   2007, and the agency reached a conclusion consistent with that of regulators worldwide for 40
     years – that glyphosate and GBHs are not carcinogenic. See California Environmental Protection
28                                             37
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 1          Finally, plaintiffs’ assertion that Monsanto influenced the science by ghostwriting articles is

 2   irrelevant and wrong. GBHs have been on the market and the subject of independent scientific

 3   research by academicians, government agencies, and other independent scientists for over 40 years.

 4   Other than funding one meta-analysis and its update to include the Alavanja 2013 and NAPP data,

 5   Monsanto had no role in the epidemiology studies. Of the 12 rodent carcinogenicity studies relied

 6   upon by plaintiffs’ experts, only three are studies conducted by Monsanto. The remaining nine are

 7   studies conducted by or on behalf of other registrants without any Monsanto involvement, and the

 8   original tumor data from each study has been published in the peer-reviewed literature.68 Plaintiffs’

 9   allegation that the unanimous conclusion of these studies – that glyphosate does not cause

10   compound-related tumors in rodents – was somehow engineered by Monsanto is absurd on its face.

11          Plaintiffs’ “ghostwriting” allegations regarding three articles that provide summaries, or

12   reviews, of primary data are also nothing more than an effort to distract the Court from their own

13   burdens as proponents of their experts’ opinions and methodologies. Opp. at 14-15.69 Notably,

14   much of the primary data discussed in these reviews comes from non-Monsanto studies, meaning,

15   once again, that Monsanto had no role in its generation. Further, one of the three articles discloses

16   that a listed author is a former Monsanto employee, see Kier & Kirkland 2013 at 311, and all three

17   articles expressly disclose Monsanto’s funding and/or involvement.70 Since plaintiffs’ counsel

18
19   Agency, Office of Environmental Health Hazard Assessment, Pesticide and Environmental
     Toxicology Branch Public Health Goals for Chemicals in Drinking Water: Glyphosate at 1 (June
20   2007), https://oehha.ca.gov/media/downloads/water/chemicals/phg/glyphg062907_0.pdf (“Based
     on the weight of evidence, glyphosate is judged unlikely to pose a cancer hazard to humans.”).
21   68
        See H. Greim et al., Evaluation of Carcinogenic Potential of the Herbicide Glyphosate, Drawing
22   on Tumor Incidence Data from Fourteen Chronic/Carcinogenicity Rodent Studies, 45 Critical
     Revs. Toxicology 185 (2015).
     69
23      See G. Williams et al., Safety Evaluation and Risk Assessment of the Herbicide Roundup and Its
     Active Ingredient, Glyphosate, for Humans, 31 Reg. Toxicology & Pharma. 117 (2000), ECF No.
24   648-25 (“Williams 2000”); L. Kier et al., Review of Genotoxicity Studies of Glyphosate and
     Glyphosate-based Formulations, 43 Critical Revs. Toxicology 283 (2013), ECF No. 649-1 (“Kier
25   & Kirkland 2013”); G. Williams et al., A Review of the Carcinogenic Potential of Glyphosate by
     Four Independent Expert Panels and Comparison to the IARC Assessment, 46 Critical Revs.
26   Toxicology 3 (2016) (“Williams 2016”). At one point, plaintiffs contended that Monsanto
     ghostwrote the Greim paper as well, but they have abandoned that contention for good reason – a
27   Monsanto employee is clearly listed as one of the study’s four authors.
     70
        See Kier & Kirkland 2013 at 310-11 (authors “thank the following individuals for their
28                                             38
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 1   began their unsubstantiated media campaign to brand these papers as ghostwritten, many of the

 2   authors (one of whom, Dr. Acquavella, is a former Monsanto employee whose e-mail mentioning

 3   the term “ghostwriting” is often taken out-of-context and cited by plaintiffs to support their

 4   arguments) have publicly stated that no ghostwriting occurred.71

 5          Plaintiffs’ affirmative burden of proof cannot be satisfied by criticizing Monsanto or

 6   articles allegedly ghostwritten by Monsanto.72 That Plaintiffs even raise such distractions confirms

 7   the bankruptcy of their case on the merits. E.g., Waite v. All Acquisition Corp., 194 F. Supp. 3d

 8   1298, 1307-08 (S.D. Fla. 2016) (rejecting similar argument; “[a]lthough perhaps narratively

 9   interesting, [that argument] is irrelevant to the instant Daubert inquiry, which focuses solely on the

10   reliability and helpfulness of any given theory and/or the qualifications of the expert positing such

11   theory.”).73

12

13   contributions … David Saltmiras (Monsanto Company)”); Williams 2000 at 160 (“[W]e thank the
     toxicologists and other scientists at Monsanto who made significant contributions to the
14   development of exposure assessments and through many other discussions. … Key personnel at
     Monsanto who provided scientific support were William F. Heydens, Donna R. Farmer, ... .”);
15   Williams 2016 at 16 (“Funding for this evaluation was provided to Intertek by the Monsanto
     Company which is a primary producer of glyphosate and products containing this active
16   ingredient.”).
     71
17      See D. Hakim, Monsanto Weed Killer Roundup Faces New Doubts on Safety in Unsealed
     Documents, N.Y. TIMES (Mar. 14, 2017), https://www.nytimes.com/2017/03/14/business/
18   monsanto-roundup-safety-lawsuit.html (co-author David Kirkland said in an interview, “‘I would
     not publish a document that had been written by someone else.’ He added, ‘We had no interaction
19   with Monsanto at all during the process of reviewing the data and writing the papers.’”); D. Hakim,
     Monsanto Glyphosate Case: Select Documents Suggest Company Tried To Influence Public Debate
20   over Weed Killer, Genetic Literacy Project (Aug. 3, 2017), https://geneticliteracyproject.org
     /2017/08/03/monsanto-glyphosate-case-selected-documents-suggest-company-tried-influence-
21   public-debate-weedkiller/ (co-author John Acquavella said “there was no ghostwriting”); W.
     Cornwall, Update: After Quick Review, Medical School Says No Evidence Monsanto Ghostwrote
22   Professor's Paper, Science (Mar. 23, 2017), http://www.sciencemag.org/news/2017/03/update-
     after-quick-review-medical-school-says-no-evidence-monsanto-ghostwrote (officials at New York
23   Medical College found “‘no evidence’ that [Dr. Gary Williams] violated the school’s prohibition
     against authoring a paper ghostwritten by others”).
     72
24      See Norris, 397 F.3d at 886 (“Mere criticism of epidemiology cannot establish causation.”);
     Hollander, 289 F.3d at 1213 (“[Plaintiffs] have the burden of demonstrating the harmful effect of
25   [the drug]. Accordingly, it was not unreasonable for the district court to conclude that [plaintiffs’
     expert’s] attack on the [epidemiology] study did not constitute reliable [general causation]
26   evidence ... .”); Caraker, 188 F. Supp. 2d at 1034 (“Plaintiffs’ experts’ broad criticisms of the
     existing epidemiological evidence do[] not help them meet their burden,” as “plaintiffs’ burden is
27   an affirmative one, not served by such attacks.”).
     73
        The court rejected plaintiffs’ argument that studies directly or indirectly funded by the
28                                             39
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 1             In addition to being baseless, plaintiffs’ ghostwriting accusations do not satisfy their

 2   affirmative Daubert burden to establish the admissibility of their experts’ causation opinions.74

 3                     OPPOSITION TO PLAINTIFFS’ DAUBERT MOTION
              TO STRIKE CERTAIN OPINIONS OF MONSANTO’S EXPERT WITNESSES
 4   I.       THERE IS NO SCIENTIFIC BASIS TO EXCLUDE DR. ROSOL’S OPINION, AS
              ALL MATERIALS HE REVIEWED WERE AVAILABLE TO BOTH PARTIES.
 5

 6             As the only veterinary pathologist among the experts designated in this litigation, Dr. Rosol

 7   is uniquely qualified to opine on pathogenesis and human relevance of cancer and other findings

 8   from rodent studies. Plaintiffs do not challenge Dr. Rosol’s qualifications or the robust

 9   methodology used to reach his conclusions under Daubert, but instead claim that Dr. Rosol’s

10   opinions should be excluded because he reviewed information “withheld from [P]laintiffs.” Opp.

11   at 62. This argument is baseless and must be denied.

12             In addition to the 101 items on his materials considered list (all of which are either publicly

13   available or produced to plaintiffs in this litigation), Dr. Rosol visited a public Reading Room in

14   Brussels, Belgium, which housed eleven of the twelve rodent carcinogenicity studies at issue

15   here.75 Two of those studies were conducted by or on behalf of Monsanto and produced to

16

17   manufacturer defendant are inherently inadmissible for the same reason. Id.; see Mullins, 178 F.
     Supp. 3d at 904 (“That these studies appearing in peer-reviewed journals are industry-funded …
18   [is a] factor [] that determine[s] the weight of the [expert’s] opinions, not their admissibility.”);
     Garlick v. County of Kern, Case No. 1:13-CV-01051, 2016 WL 1461841, at *3-4 (E.D. Cal. Apr.
19   14, 2016) (rejecting Daubert challenge to defendants’ expert in civil rights/excessive force lawsuit
     whose studies “were funded by the City of San Diego in preparation for litigation” because that
20   argument goes to bias and weight, not admissibility); Pirolozzi v. Stanbro, No. 5:07-CV-798, 2009
     WL 1441070, at *5-6 (N.D. Ohio May 20, 2009) (rejecting Daubert challenge and holding that
21   issue of industry-funded studies goes to “the weight to be accorded [to] the experts’ testimony,
     rather than the admissibility of the testimony”).
     74
22      Plaintiffs’ claims that Monsanto’s experts “relied” on these three articles are incorrect. Dr.
     Foster looked at the review papers and therefore placed them on his materials considered list as
23   required by Fed. R. Civ. P. 26(a)(2(B)(ii), along with over 180 other materials. Dr. Goodman
     likewise included the articles on his nearly 400-reference long materials considered list and
24   testified that he did not base his opinions on the content of the papers, instead reviewing and
     relying upon the original study data itself, where available. Goodman Dep. 158:11-15 (“I made an
25   independent, in-depth, constructively critical evaluation of this large body of data here related to
     genotoxicity and reached my conclusion and then I said, like, [a]nd by the way, it’s consistent
26   with.”); Goodman Report at 31-33 (same). Further, Dr. Goodman testified that his opinion would
     have been the same even if these review papers had not existed. Goodman Dep. 158:24-159:5.
27   75
        Because the studies could not be printed or removed from the Reading Room due to their
     commercial and trade secret nature, Dr. Rosol handwrote over 50 pages of notes during his review,
28                                                 40
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 1   plaintiffs in this litigation.76 As plaintiffs concede, the remaining studies were conducted by or on

 2   behalf of other GBH registrants; they are not and have never been under Monsanto’s possession,

 3   dominion, or control. See Email from Rosemary Stewart, to Jeffrey Travers (Dec. 30, 2016, 9:13

 4   AM), ECF No. 656-14. Monsanto could not “withhold” from plaintiffs studies it does not have.

 5          Accompanied by significant publicity and in connection with the EU glyphosate re-

 6   registration process, the Reading Room opened on August 24, 2016 and closed at the end of

 7   October 2016.77 Plaintiffs do not – and cannot – dispute that the Reading Room was open to

 8   anyone who cared to visit. Access was free and required only that visitors complete an online

 9   registration form to make an appointment. Rosol Dep. 59:5-10, 61:13-64:1.

10          Plaintiffs’ decision not to visit or to have their experts visit the public Reading Room is a

11   calculated litigation ploy, not a basis for exclusion of Dr. Rosol’s testimony. To be clear, Dr.

12   Portier, who lists Switzerland as his home address, see C. Portier Consultations, LobbyFacts.eu

13   (Dec. 21, 2015), ECF No. 655-1, is closely following EFSA’s decision-making vis-à-vis

14   glyphosate. He has actively engaged with European authorities through public and private

15   criticisms of EFSA’s assessment of glyphosate and presentations before the European Parliament

16   and other EU-based entities, all of which occurred after he agreed to serve as an expert in this

17

18   all of which were produced to plaintiffs prior to Dr. Rosol’s deposition. See Ltr. from Heather
     Pigman to Robin Greenwald and Kathryn Forgie (Sept. 5, 2017), ECF No. 655-7. See Bd. of Trs.
19   of the AFTRA Ret. Fund v. JPMorgan Chase Bank, N.A., No. 09-civ-686, 2011 WL 6288415, at
     *11 (S.D.N.Y. Dec. 15, 2011) (“Where the substance of [undisclosed reliance materials] is
20   incorporated into the body of [expert’s] report, exclusion is not an appropriate remedy for failure
     to produce [those materials].”).
21   76
        See Expert Report of Charles Jameson, Exhibit B at 7, #72 (MONGLY00586054, 1983 mouse
22   study), #73 (MONGLY00593610, 1990 rat study), ECF No. 648-6 (“Jameson Report”). A third
     rodent study conducted on behalf of Monsanto, but not available in the Reading Room, also was
23   produced to plaintiffs in full and was available to plaintiffs’ experts. See Jameson Report, Ex. B at
     7, #71 (MONGLY01767038, 1981 rat study).
     77
24      See Business Wire, Glyphosate Task Force Opens Reading Room for Public Access to Studies
     (Aug. 24, 2016), http://www.businesswire.com/news/home/20160824005470/en/Glyphosate-Task-
25   Force-Opens-Reading-Room-Public; GTF Response to Commissioner Andriukaitis’ Letter Re:
     Publication of Studies, MONSANTO BLOG (Apr. 6, 2016, updated Aug. 24, 2016),
26   https://monsantoblog.eu/gtf-response-to-commissioner-andriukaitis-letter-re-publication-of-
     studies/; Glyphosate Facts, Glyphosate Task Force Opens Reading Room for Public Access to
27   Studies (Aug. 24, 2016), http://www.glyphosate.eu/gtf-statements/glyphosate-task-force-opens-
     reading-room-public-access-studies.
28                                             41
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 1   litigation and while he was receiving financial compensation from plaintiffs’ counsel. See Portier

 2   Dep. 71:8-75:4, 113:2-115:23, 122:10-132:23. For example, leading up to the opening of the

 3   Reading Room, Dr. Portier:

 4           Testified in September 2015 to German regulators regarding the differences between their
              assessment of glyphosate and that of IARC, see Portier Dep. 114:22-25; Corporate Europe
 5            Observatory, Setting the Record Straight on False Accusations, Dr. C. Portier’s Work on
              Glyphosate and IARC (Oct. 19, 2017), https://corporateeurope.org/food-and-
 6            agriculture/2017/10/setting-record-straight-false-accusations-dr-c-portier-work-glyphosate;

 7           Commented in an October 2015 email to NIEHS scientist Linda Birnbaum that he was
              “having a bit of fun pushing the IARC Glyphosate finding into the European decision on
 8            [sic] re-registration,” see E-mail from Linda Birnbaum to Sharon Evans (Oct. 21, 2015,
              8:10 AM), ECF No. 655-1;
 9           Penned a November 2015 letter to EFSA expressing his “deep concern” over the agency’s
              determination that glyphosate is “unlikely to pose a carcinogenic hazard to humans,” see
10            Ltr. from C. Portier, Sr. Contributing Scientist EDF, to V. Andriukaitis, Comm’r Health and
              Food Safety, European Comm’n (Nov. 27, 2015), ECF No. 655-1;78
11
             Commented to a European news outlet regarding EFSA’s refusal to adopt IARC’s scientific
12            conclusions, A. Neslen, Vote on Controversial Weedkiller’s European Liscense Postponed,
              The Guardian (Mar. 8, 2016), https://www.theguardian.com/environment/2016/mar/08/eu-
13            vote-on-controversial-weedkiller-licence-postponed-glyphosate; and
14           Wrote to German regulators regarding his preference for IARC’s analysis over theirs. Ltr.
              from C. Portier to Federal Institute for Occupational Safety and Health (July 8, 2016),
15            http://www.eomsociety.org/images/PDF/PortierOLII.pdf.

16            Plaintiffs’ familiarity with European regulatory affairs goes beyond Dr. Portier. Counsel

17   enjoys a relationship with the very MEPs who requested the opening of the Reading Room and

18   then protested outside of it.79 For example, on October 15, 2016, while the Reading Room was still
19   78
        Although he enlisted a variety of co-signatories to this so-called impartial letter, Portier
20   apparently did not disclose to them his close financial relationship with plaintiffs’ counsel or his
     financial conflict of interest, nor did he disclose those conflicts to the EU officials to whom the
21   letter was addressed. See Portier Dep. 73:18-75:4 (conceding that he failed to disclose to co-
     signees or EFSA the fact that he had been working as a private consultant for plaintiffs’ counsel);
22   Jameson Expert Dep. 277:11-278:5 (Dr. Jameson, a co-signee, “wasn’t aware” that Dr. Portier had
     started working for plaintiffs’ counsel when he participated in the letter to EFSA).
     79
23      See Ltr. from H. Hautala, Member of the European Parliament and others, to Bernhard Url, Exec.
     Director of the European Food Safety Authority (Mar. 15, 2016), https://www.asktheeu.org
24   /en/request/is_glyphosate_safe_we_have_the_r (request by four MEPs (Bart Staes, Heidi Hautala,
     Benedek Javor and Michèle Rivasi) to EFSA demanding “access to all documents that have been
25   used during the EFSA peer review” of glyphosate); Reddit, Glyphosate Task Force Opens Reading
     Room for Public Access to Studies, (May 26, 2017) https://www.reddit.com/r/farming
26   /comments/4zcr4z/glyphosate_task_force_opens_reading_room_for/; GMWatch, MEPs Protest
     Industry “Reading Room” for Secret Glyphosate Studies (Sept. 28, 2016)
27   http://gmwatch.org/en/news/latest-news/17241-meps-protest-industry-reading-room-for-secret-
     glyphosate-studies (describing protests by MEPs).
28                                             42
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 1   open, attorney Timothy Litzenburg, of the Miller Firm, another co-lead counsel in this MDL, and

 2   one of the MDL plaintiffs traveled to The Hague, just over 100 miles from Brussels, to hype their

 3   theories regarding glyphosate’s impact on human health. See International Monsanto Tribunal:

 4   Program (Oct. 14-16, 2016), http://www.en.monsantotribunal.org/program. In July 2017, the same

 5   MEPs and plaintiffs’ counsel filed a letter with this Court requesting access to deposition

 6   transcripts of Monsanto’s corporate witnesses and “any accompanying and relevant documents or

 7   other evidence.” See European Parliament Letter. Shortly thereafter, plaintiffs’ counsel at Baum

 8   Hedlund, a firm which is, for now, a member of the MDL Executive Committee, made that happen

 9   by, among other things, providing the MEPs with 86 confidential documents. See Ltr. from R.

10   Brent Wisner, Baum Hedlund Aristei and Goldman, PC, to Bart Staes, Member of the European

11   Parliament at 4 (Aug. 1, 2017), ECF No. 435-1 (“We hope that the European Parliament will be

12   better informed in proceeding with their evaluation and classification of glyphosate as a result of

13   having access to these documents.”). In September 2017, another plaintiffs’ attorney, Kathryn

14   Forgie of the Andrus Wagstaff firm, another co-lead counsel firm in this MDL, held a press

15   conference in Paris, France, alongside one of the same MEPs to lobby European regulators not to

16   re-approve the registration of glyphosate. See Monsanto Papers Press Conference. In October

17   2017, the Baum Hedlund firm and two other MDL plaintiffs appeared in Brussels to lobby

18   European lawmakers to ban or restrict glyphosate. See D. Hakim, Monsanto’s Roundup Faces
19   European Politics and U.S. Lawsuits, N.Y. TIMES (Oct. 4, 2017), https://www.nytimes.com

20   /2017/10/04/business/monsanto-roundup-europe.html?_r=0. In the same month, Baum Hedlund

21   provided summaries and copies of plaintiffs’ expert reports from this litigation to EU officials,

22   advising them that the firm “expect[s] more documents from the ongoing U.S. litigation to be

23   declassified in the near future … that may be of interest to European lawmakers.”80

24   80
        See Ltr. from Michael L. Baum, to Members of the European Commission, Parliament and
     Member States (Oct. 31, 2017), https://www.politico.eu/wp-content/uploads
25   /2017/11/Letter20Re20Expert20Reports.pdf. Notably, two congressional committees are
     investigating IARC and considering eliminating its U.S. funding based on concerns about the
26   “scientific integrity” of the monograph program and the “lack of transparency” in the group’s
     meetings, deliberations, and drafts. See K. Kelland, Exclusive: Congressional Committee
27   Questions Operation of WHO Cancer Agency, Reuters (Nov. 1, 2017),
     https://www.reuters.com/article/us-health-who-congress-exclusive/exclusive-congressional-
28                                             43
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 1          Tactics aside, plaintiffs’ experts’ decision not to visit the public Reading Room is not a

 2   basis for exclusion of Dr. Rosol’s testimony, and is instead more evidence of their improper

 3   methodological practice of ignoring unhelpful data.81 Moreover, plaintiffs’ argument is also

 4   meritless because, as Dr. Rosol explained at his deposition, key tumor data from the eleven

 5   carcinogenicity studies he reviewed in the Reading Room is also available in other public sources,

 6   including the Greim publication, which Drs. Jameson and Portier cited no less than 41 times. See

 7   Portier Amended Report at 22-44; Jameson Report at 19-28.

 8          Plaintiffs mischaracterize Dr. Rosol’s testimony by claiming that review of the underlying

 9   pathology reports in the Reading Room was “essential” to his opinions. Opp. at 62; id. (“all of Dr.

10   Rosol’s opinions are predicated upon information to which Monsanto had access but that were

11   withheld from Plaintiffs”). At his deposition, Dr. Rosol made clear that he did not need the data in

12   the Reading Room to conclude that the rodent carcinogenicity studies show no evidence of a

13   carcinogenic effect; rather, even if he had never stepped foot in the Reading Room, he had

14   sufficient data from Greim 2015 and the three Monsanto studies to reach the same opinion. See

15   Rosol Dep. 205:5-206:1 (explaining that the “major value of the reading room experience to me

16   has been the reading of the pathology reports. It was interesting to read that none of the

17   pathologists thought there was a compound-mediated effect” but “for me to render my conclusion I

18   actually didn’t have to go to the reading room. The data that was available to me without going to
19   the reading room would have led to the same conclusion.”); id. 208:5-209:3 (agreeing that the

20   carcinogenicity data from the 12 studies is “appropriately and adequately captured in the Greim

21   report”). Accordingly, plaintiffs’ attempt to exclude Dr. Rosol’s testimony must be denied.

22

23
     committee-questions-operation-of-who-cancer-agency-idUSKBN1D15TU.
     81
24      See Assurance Co. of Am. v. Nat’l Fire & Marine Ins. Co., No. 2:09-CV-1182, 2012 WL
     1970017, at *4 (D. Nev. June 1, 2012) (no duty to produce documents that were equally available
25   to all parties), aff’d, 595 Fed. App’x 670 (9th Cir. 2014); Princeton Digital Image Corp. v. Office
     Depot Inc., No. 13-239, 2017 WL 3264068, at *5 (D. Del. Aug. 1, 2017) (where expert’s report
26   “fairly disclose[d] the theory on which he relie[d],” plaintiff lacked a “meritorious basis for
     exclusion” of materials in publicly-available internet archive); Fitts v. Unum Life Ins. Co. of Am.,
27   98-00617, 2007 WL 1334974, at *19 (D.D.C. May 7, 2007) (denying party’s motion to exclude
     public records of which the party was aware and had authority to view).
28                                             44
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     II.     DR. GOODMAN’S ROBUST AND WELL-SUPPORTED EVALUATION OF ALL
 1           AVAILABLE MECHANISTIC DATA IS ADMISSIBLE.
 2
             Dr. Goodman is a board certified toxicologist specializing in the mechanisms underlying
 3
     carcinogenesis. For over 45 years, Dr. Goodman has taught and conducted research on toxicology
 4
     as a faculty member of Michigan State University’s Department of Pharmacology and Toxicology.
 5
     Goodman Report at 1. Plaintiffs do not challenge Dr. Goodman’s qualifications to opine on the
 6
     mechanistic data. Instead, plaintiffs claim that because he “discount[ed]” the two
 7
     methodologically flawed human in vivo studies described above and applied a “result driven
 8
     methodology,” his testimony should be excluded. Opp. at 62-65. Both of plaintiffs’ arguments
 9
     hinge on mischaracterizations of Dr. Goodman’s testimony and a fundamental misunderstanding
10
     of plaintiffs’ burden at the Daubert stage. Accordingly, this motion must be denied.
11
             A. Dr. Goodman Applied a Rigorous Methodology to Both Positive and Negative
12              Studies To Reach His Opinion That Glyphosate and GBHs Should Be Regarded as
                Non-Genotoxic.
13
             In contrast to plaintiffs’ experts’ cursory review of select studies and parroting of IARC,
14
     Mtn. at 32 & n.55, Dr. Goodman critically evaluated all relevant mechanistic data involving
15
     glyphosate and GBHs. Based on his review of over 200 genotoxicity and oxidative stress studies,
16
     including studies published in the peer-reviewed literature and unpublished regulatory studies
17
     performed according to well-established, standardized guidelines, Dr. Goodman concluded that
18
     glyphosate and GBHs are non-genotoxic.82 See Goodman Report at 3. To evaluate this enormous
19
     and complex data set, Dr. Goodman applied a clear methodology, emphasizing the four types of
20
     tests “employed internationally for registration/approval of chemicals” for their ability to reliably
21
     “cover [] a spectrum of potential genotoxic events,” id at 9; and, considering whether there were
22
     potential confounding factors present in each study that could impact the results. Id. at 6. This
23

24
     82
       Further, consistent with EPA’s view that “explicit relationships” between oxidative stress and
25   adverse outcomes in the human body “have yet to be defined,” Mtn. at 31, Dr. Goodman concluded
     that “while GBFs and/or glyphosate might be capable of causing oxidative stress under certain
26   experimental conditions,” oxidative stress is not a “reliable biomarker of [a chemical’s] ability to
     cause cancer.” See Goodman Report at 3-4, 39. Dr. Goodman further explained at his deposition
27   that “the role of oxidative stress in carcinogenicity is really unclear” and there is insufficient data to
     conclude that oxidative stress can cause cancer. Goodman Dep. 190:3-4, 190:18-191:1.
28                                             45
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 1   methodology has been published, peer-reviewed, generally accepted, and tested – the hallmarks of

 2   reliability under Daubert.83

 3          Plaintiffs mischaracterize Dr. Goodman’s testimony, arguing the false predicate that he

 4   “accepts all negative findings at face value – even when these findings are the product of methods

 5   he deems unreliable in positive studies.” Opp. at 65. At his deposition, Dr. Goodman made clear

 6   that he employed the same rigorous criteria “regardless of whether it was a study where the author

 7   reported a positive effect or the author reported a negative effect.” Goodman Dep. 230:17-22. For

 8   example, where negative studies utilized a non-physiological route of administration, like IP

 9   injection (akin to intravenous injection) or extreme doses potentially resulting in cytotoxicity

10   (generalized cell toxicity precluding genotoxicity), Dr. Goodman did not simply accept those

11   studies at face value. Instead, based on decades of scientific experience, he critically evaluated the

12   data and determined that where no genotoxic effect is observed under “extraordinar[ily] … harsh

13   testing conditions,” then that effect is not going to occur under “physiologically relevant”

14   conditions. Goodman Dep. 96:5-10, 238:8-17.

15          Plaintiffs further attempt to obfuscate Dr. Goodman’s thorough methodology by implying

16   that because he was unable to recall specific details or titles of some of the hundreds of materials

17   he reviewed when questioned at his deposition, his testimony is unreliable. Opp. at 66 n.192. This

18   weak attempt to preclude Dr. Goodman’s testimony fails for the same reasons discussed in
19   connection with their similarly baseless challenge to the admissibility of Dr. Foster’s opinions.

20   See infra at 47-49.

21          Moreover, the four references identified by plaintiffs as studies “conducted with neither

22
     83
        See K. Dearfield et al., Use of Genetic Toxicology Information for Risk Assessment, 46 Envtl.
23   Molecular Mutagenesis 236 (2005) (describing the tests identified by Dr. Goodman as the “most
     widely recommended” genetic toxicology battery and explaining that “[i]t is insufficient to
24   determine that a chemical is positive in one of many genotoxicity assays and then assume that all
     adverse health outcomes will have a mutagenic [mode of action].”); id. at 240 (discussing the need
25   to consider “maximum concentration level(s) for cytotoxicity”); M. Cimino, Comparative
     Overview of Current International Strategies and Guidelines for Genetic Toxicology Testing for
26   Regulatory Purposes, 47 Envtl. Molecular Mutagenesis 362, 363 (2006) (genotoxicity test battery
     [emphasized by Dr. Goodman] developed to assess a “spectrum” of genetic damage); id. at 386
27   (explaining that positive responses in genotoxicity tests are “not sufficient to conclude that [a
     chemical] has a mutagenic [mode of action] for carcinogenicity”).
28                                             46
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 1   GBFs nor glyphosate,” are, as described in Opp. at 66 n.194, Ames tests on surfactants used in

 2   GBHs. Despite plaintiffs’ willingness to implicate the “cocktail of other ingredients in the

 3   formulated product, such as surfactants,” Opp. at 44, plaintiffs’ experts failed to consider most of

 4   the genotoxicity testing conducted with surfactants, including those four Ames tests.

 5            B. Plaintiffs Mischaracterize Dr. Goodman’s Valid Criticisms of Paz-y-Mino 2007
                 and Bolognesi 2009, Studies Considered “Low Quality” By EPA.
 6

 7            With all their eggs in the “human in vivo” basket, plaintiffs devote almost three pages of

 8   their Opposition brief to addressing Dr. Goodman’s criticisms of those studies. Opp. at 62-65. In

 9   doing so, and as discussed in more detail above, supra at 32-36, 46, plaintiffs again

10   mischaracterize both Dr. Goodman’s testimony and the serious weaknesses in the human in vivo

11   studies – as acknowledged by the authors and regulators including EPA – that preclude reliance on

12   those studies to conclude that glyphosate or GBHs are genotoxic.

13   III.     DR. FOSTER’S OPINIONS ARE WELL-SUPPORTED AND HIS TESTIMONY
              SHOULD BE ADMITTED UNDER DAUBERT.
14

15            Dr. Foster is well-qualified to opine about glyphosate’s lack of carcinogenicity. He is a

16   toxicologist with three decades of experience conducting and evaluating rodent toxicology studies,

17   including studies of cancer in rodents. The first decade of his career was spent at Health Canada –

18   the Canadian equivalent of EPA – and while there he evaluated the carcinogenicity of various
19   pesticides. Dep. of Warren Foster 70:4-71:2 (Sept. 15, 2017), ECF No. 656-17 (“Foster Dep.”).

20   Since leaving Health Canada, Dr. Foster has worked in academia, where he has continued his

21   research into rodent toxicology, including endpoints such as chemical carcinogenesis. Id. 8:22-

22   9:2, 22:7-14. He has published more than a dozen articles on chemical carcinogenesis in rodents,

23   id. 118:18-122:15 (referring to articles on CV focused on cancer in rodent models).

24            Plaintiffs claim that Dr. Foster utilizes an “inconsistent and erroneous” methodology by

25   alleging that he applies certain analytical factors in a manner designed to reach his desired outcome.

26   Opp. at 67. This argument has no factual support and ignores both the clear language in Dr.
27   Foster’s report and his deposition testimony about his methodology. For example, in his report, Dr.

28                                             47
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 1   Foster clearly outlines the factors he finds important when examining the rodent toxicology data.

 2   Expert Report of Warren Foster at 6-7, ECF No. 649-7 (“Foster Report”) (discussing importance of

 3   tumor progression, replication, dose, dose-response and other qualitative and quantitative factors to

 4   evaluation of rodent carcinogenicity data). As he explained, the relative importance of each factor

 5   may vary depending on the data, meaning that although each factor is always considered, not all

 6   factors are always of identical value in interpreting individual pieces of data.84 It is Dr. Foster’s

 7   refusal to elevate one factor over another rather than plaintiffs’ experts’ sole focus on statistics that

 8   is the reliable method for reviewing animal toxicology data.85

 9          Plaintiffs attempted, but failed, to paint Dr. Foster’s methodology as shifting. See, e.g.,

10   Foster Dep. 195:19-196:20 (explaining that his methodology involves “evaluating the entire study”

11   using all factors identified in his report); id. 65:5-6 (“Again, I think you have to look at the study in

12   its totality”); id. 181:14-17 (“[T]he way you’re phrasing your question is - - is difficult for me,

13   because it sounds like I do something at the exclusion of something else; that I just ignore it, and I

14   - - I don’t.”); id. 218:23-24 (“I don’t rely upon [one factor] to the exclusion of other factors. It’s

15   something that I look at.”).86 Dr. Foster’s methodology is consistent both across studies and with

16   84
        Foster Report at 12 (discussing evaluation of various factors in addition to statistical significance
17   in interpreting rodent carcinogenicity data); Foster Dep. 82:9-83:2, 181:11-24 (explaining that he
     evaluates all of the data when interpreting a study but that certain issues within a given data set
18   may be given greater value once the data is analyzed).
     85
        Foster Report at 7-11; see also Jameson Report at 19 (discussing evaluation of similar factors as
19   part of the “assessment of the experimental animal data”); J. Huff & C. Jameson et al.,
     Carcinogenesis Studies: Results of 398 Experiments on 104 Chemicals from the U.S. National
20   Toxicology Program, 534 Ann. N.Y. Acad. Sci. 1, 7 (“[s]cientific judgment [] must entail full
     consideration of all the available relevant information together with the statistical findings in an
21   attempt to assess the truth”); Tarazona 2017 at 3, 4 (discussing variety of factors to be considered
     in analyzing rodent carcinogenicity data and noting Dr. Portier’s analysis of the glyphosate data
22   does not do so).
     86
        Plaintiffs claim that Dr. Foster incorrectly compared the high dose group in one study (Lankas)
23   with the low dose groups in two others (Atkinson and Suresh). Opp. at 67-68. However, Dr.
     Foster evaluated each study independently and found no evidence of carcinogenicity in any study.
24   Foster Report at 14-25. And, unlike Dr. Portier’s novel and speculative pooling “methodology,”
     Dr. Foster only compared the studies in response to plaintiffs’ request that he identify a study that
25   used a dose within 500 ppm of the doses used in Lankas. Foster Dep. at 203:14-204:18. Plaintiffs
     attempt to insinuate that Dr. Foster does not understand which dose groups can be compared
26   between studies, but as Dr. Foster explained, his ultimate opinion was in fact based on comparing
     the doses found in Lankas to “similar doses through to much higher doses.” Id. 204:10. Plaintiffs
27   other objections to Dr. Foster’s testimony (opinions regarding tumor progression and loss of body
     weight) are similarly without merit as Dr. Foster’s methodology is based upon established
28                                             48
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 1   accepted scientific methods.

 2           Finally, plaintiffs claim Dr. Foster’s testimony is unreliable because he could not recall the

 3   specific page – out of the thousands he reviewed in forming his opinions – that referenced weight

 4   loss in certain rodents in one of the rodent bioassays. An expert’s “memory failures at his

 5   deposition … [do not] mean that the analysis in his report was flawed.” Network Prot. Scis., LLC

 6   v. Fortinet, Inc., No. C 12-01106, 2013 WL 5402089, at *5 (N.D. Cal. Sept. 26, 2013) (emphasis in

 7   original).87

 8   IV.     PLAINTIFFS’ EFFORTS TO EXCLUDE DR. CORCORAN’S TESTIMONY LACK
             ANY FACTUAL BASIS AND MUST BE DENIED.
 9

10           Plaintiffs’ challenge to Dr. Corcoran’s expertise, Opp. at 56 n.165, is without basis. Dr.

11   Corcoran is a widely respected biostatistician – over the course of his career he has received

12   millions of dollars largely from government agencies to conduct research on health and statistics

13   issues. Expert Report of Chris Corcoran at 2, ECF No. 655-12 (“Corcoran Report”); Dep. of Chris

14   Corcoran 104:22-105:4 (Sept. 20, 2017), ECF No. 656-20. He has over 20 years of experience

15   applying biostatistics principles to the study and evaluation of categorical data, including rodent

16   carcinogenicity data, and has published on the appropriate design of the statistical analysis of

17   rodent carcinogenicity studies.88 Given his decades of work performing analyses similar to the one

18
19   scientific factors. See, e.g., Tarazona 2017 at 4 (noting “reduced body weight”).
     87
20      Brown v. China Integrated Energy, Inc., CV 11-02559, 2015 WL 12720322, at *5 (C.D. Cal.
     Feb. 17, 2015) (rejecting argument to exclude defendants’ expert due to failure to recall at
21   deposition certain specific details of cited material); Wise v. C.R. Bard, Inc., No. 2:12-CV-01378,
     2015 WL 521202, at *15 (S.D.W. Va. Feb. 7, 2015) (declining to exclude expert’s opinions “on the
22   grounds that he was unable to recall the literature during his deposition”); In re Chantix
     (Varenicline) Prod. Liab. Litig., No. 2:09-CV-2039, 2012 WL 12920549, at *2 (N.D. Ala. Dec. 3,
23   2012) (expert’s inability to “remember details from the records he reviewed” is not a proper matter
     for the court’s consideration at Daubert stage); Quad/Graphics, Inc. v. One2One Commc’ns, LLC,
24   No. 09-CV-99, 2011 WL 4478440, at *8 (E.D. Wis. Sept. 23, 2011) (“no reason to exclude
     [expert’s] testimony” for lack of reliability where, at deposition, he could not recall specific
25   numbers or closing rates).
     88
        See Corcoran Report Curriculum Vitae at 1-2; D. Collett, Modelling Binary Data 1-2 (1st ed.
26   1991) (describing rodent carcinogenicity data as a good example of categorical data); C. Corcoran
     et al., Power Comparisons for Tests of Trend in Dose-Response Studies, 19 Statistics in Med. 3037
27   (2000); C. Corcoran et al., Exact Methods for Categorical Data Analysis, in Encyclopedic
     Companion to Medical Statistics (2010).
28                                             49
      MONSANTO’S REPLY MEM. ISO ITS DAUBERT & SUMM. J. MTN. RE GENERAL CAUSATION AND OPP.
                        TO PLFS’ MOTION TO EXCLUDE (3:16-md-02741-VC)
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 1   he conducts here, his testimony should be admitted.

 2   V.     PLAINTIFFS’ MOTION TO EXCLUDE DRS. MUCCI AND RIDER’S RELIANCE
            ON RECENT EPIDEMIOLOGICAL DATA MUST BE DENIED.
 3
            Plaintiffs argue that Drs. Mucci and Rider inappropriately rely on the unpublished Alavanja
 4
     2013 paper. Opp. at 34-38. However, plaintiffs’ experts acknowledge that unpublished data should
 5
     be incorporated into epidemiology reviews and have relied upon it in formulating their opinions.
 6
     Supra at 19-22. Contrary to plaintiffs’ argument, it is their experts’ methodology of willfully
 7
     closing their eyes to this important epidemiologic data that is unreliable.89
 8
                                                CONCLUSION
 9
            For all of these reasons, Monsanto’s motion to exclude plaintiffs’ expert testimony under
10
     Daubert must be granted and summary judgment in Monsanto’s favor entered. Plaintiffs’ motions
11
     to exclude certain Monsanto experts are baseless and should be denied.
12
     DATED: November 10, 2017                      Respectfully submitted,
13
                                                   /s/ Joe G. Hollingsworth
14                                                 Joe G. Hollingsworth (pro hac vice)
                                                   (jhollingsworth@hollingsworthllp.com)
15                                                 Eric G. Lasker (pro hac vice)
                                                   (elasker@hollingsworthllp.com)
16                                                 Martin C. Calhoun (pro hac vice)
                                                   (mcalhoun@hollingsworthllp.com)
17                                                 Heather A. Pigman (pro hac vice)
                                                   (hpigman@hollingsworthllp.com)
18                                                 HOLLINGSWORTH LLP
                                                   1350 I Street, N.W.
19                                                 Washington, DC 20005
                                                   Telephone:      (202) 898-5800
20                                                 Facsimile:      (202) 682-1639
                                                   Attorneys for Defendant
21                                                 MONSANTO COMPANY
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     89
       See also Salomon v. Andrea C., No. 06CV484, 2008 WL 686795 at *3-4 (S.D. Cal. Mar. 11,
25   2008) (admitting expert testimony based on unpublished data); Gaddy v. Blitz U.S.A., Inc., No.
     2:09-cv-52, 2011 WL 13193319, at *9 (E.D. Tex. Jan. 18, 2011) (“Plaintiffs’ arguments [regarding
26   expert’s reliance on] non-peer-reviewed articles go more to weight than admissibility.”); Obesity
     Res. Inst., LLC v. Fiber Res. Int’l, LLC, No. 15-cv-595, 2017 WL 1166307, at *3 (S.D. Cal. Mar.
27   29, 2017) (alleged flaws in data relied upon by expert go to weight afforded to opinion and not to
     admissibility of opinions).
28                                             50
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